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                                                       ID #:14


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                     6
                       Attorneys for Defendants THE BOEING
                     7 COMPANY, MILLENNIUM SPACE
                       SYSTEMS, INC., JENNIFER
                     8 BERINA-BUELNA and NINA MATTERA

                     9
                                             UNITED STATES DISTRICT COURT
                   10
                                           WESTERN DISTRICT OF CALIFORNIA
                   11

                   12
                         CRAIG M GARRIOTT, an individual,            Case No. 2:24-CV-04735
                   13
                                    Plaintiff,
                   14                                                DECLARATION OF CATHERINE
                              vs.                                    L. HAZANY IN SUPPORT OF
                   15                                                NOTICE OF REMOVAL OF CIVIL
                      THE BOEING COMPANY, a Delaware                 ACTION TO THE UNITED STATES
                   16 corporation, MILLENNIUM SPACE                  DISTRICT COURT
                      SYSTEMS, INC., a Delaware
                   17 corporation, JENNIFER BERINA-
                      BUELNA, an individual, NINA                    [Filed concurrently with Notice of
                   18 MATTERA, an individual, and DOES 1             Removal; Civil Cover Sheet;
                      to 100, inclusive,                             Certification and Notice of Interested
                   19                                                Parties; Consent to Removal; and
                                    Defendants.                      Declaration of John Turner]
                   20

                   21
                                                                     Action Filed:     April 10, 2024
                   22                                                Removal Date:
                                                                     Trial Date:       Not Set
                   23

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O GLETREE , D EAKINS ,
  N ASH , S MOAK &                                               1
   S TEWART , P.C.
                         DECLARATION OF CATHERINE L. HAZANY IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL
                                         ACTION TO THE UNITED STATES DISTRICT COURT
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                     1                   DECLARATION OF CATHERINE L. HAZANY
                     2         I, Catherine L. Hazany, declare:
                     3         1.     I am an attorney at law duly licensed and admitted to the United States
                     4   District Court for the Central District of California. I am a Shareholder with the law
                     5   firm of Ogletree, Deakins, Nash, Smoak & Stewart, P.C., counsel of record for
                     6   Defendants THE BOEING COMPANY (“Boeing”), MILLENNIUM SPACE
                     7   SYSTEMS, INC. (“MSS”), JENNIFER BERINA-BUELNA and NINA MATTERA.
                     8   I am familiar with the facts and circumstances reflected below and surrounding this
                     9   litigation. If called as witness, I could and would competently testify to the following.
                   10          2.     I am informed and believe, Plaintiff Craig M. Garriott (“Plaintiff”) filed
                   11    his Complaint on April 10, 2024 in the Los Angeles County Superior Court (Case No.
                   12    24STCV09031) (“Action”). Plaintiff filed an Amended Complaint on April 30, 2024.
                   13    I am attaching to the accompanying Notice of Removal as Exhibit 1 a true and correct
                   14    copy of the Summons, First Amended Complaint, Civil Case Cover Sheet, Notice of
                   15    Case Management Conference, Notice of Case Assignment, Alternative Dispute
                   16    Resolution (ADR) Information Packet, Order to Show Cause Hearing re: Proof of
                   17    Service; Notice of Acknowledgement and Receipt;
                   18         3.      On May 7, 2024, Boeing and MSS were personally served through their
                   19    statutory agent with the Complaint. Attached hereto as Exhibit 2 is true and correct
                   20    copy of the service of process transmittal summaries for Boeing and MSS.
                   21         4.      On May 9, 2024, Plaintiff’s counsel emailed a Notice of
                   22    Acknowledgment of Receipt of the Summons and Complaint to me for service upon
                   23    individual defendants Nina Mattera and Jennifer Berina-Buelna, which I signed on
                   24    May 20, 2024. Attached hereto as Exhibit 3 is true and correct copy of the Notice of
                   25    Acknowledgement of Receipt.
                   26         5.      On June 4, 2024, Defendants filed an Answer to the Complaint in state
                   27    court, asserting various affirmative defenses. A true and correct copy of the service
                   28    copy of the Answer is attached as Exhibit 4.
O GLETREE , D EAKINS ,
  N ASH , S MOAK &                                                   2
   S TEWART , P.C.
                         DECLARATION OF CATHERINE L. HAZANY IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL
                                         ACTION TO THE UNITED STATES DISTRICT COURT
                Case 2:24-cv-04735-DMG-MAR           Document 1-1       Filed 06/05/24   Page 3 of 101 Page
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                     1       6.       On June 4, 2024, Defendants filed a Notice of Related Case regarding
                     2   Plaintiff’s wife’s case, Kathy Moonitz v. The Boeing Company, et al. (Case No.
                     3   24STCV09122)). Attached hereto as Exhibit 5 is true and correct copy of the Notice
                     4   of Related Case.
                     5       7.       I am attaching as Exhibit 6 a true and correct copy of the complaint filed
                     6   by Plaintiff’s wife against Defendants Boeing and Nina Mattera in Kathy Moonitz v.
                     7   The Boeing Company, et al. (Case No. 24STCV09122).
                     8       8.       In accordance with 28 U.S.C. section 1446(d), promptly after filing this
                     9   Notice of Removal, Defendants will give separate written notice to all adverse parties
                   10    and shall file a copy of said notice with the clerk of the Superior Court of California,
                   11    County of Los Angeles.
                   12          I declare under penalty of perjury under the laws of the United States of America
                   13    and the State of California that the foregoing is true and correct, and that this
                   14    declaration was executed on June 5, 2024, at Los Angeles, California.
                   15

                   16
                                                                               Catherine L. Hazany
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O GLETREE , D EAKINS ,
  N ASH , S MOAK &                                                  3
   S TEWART , P.C.
                         DECLARATION OF CATHERINE L. HAZANY IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL
                                         ACTION TO THE UNITED STATES DISTRICT COURT
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                       EXHIBIT 1
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                                         SUMMONS                                                        l                   FORCOURTUSEONLY
                                                                                                                         (SOLO PARA LSO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
 ,q~gpq~pE~~yypA pp                                                                                                Electronically. FILED. by
(-THE 13OE1N.G,~Ol~1PANY.,~a Delaware corporation, MILLENNIUM SPACE                                     l          Superlor Court ofCatifornla,
  SYSTEMS, INC., a Delaware corporation, JENNIFER BERINA-BUELNA, an                                     l          County of Los Angeles
                                                                                                        l          4/L1J2024 85.6 AM
  individual, NINA MATTERA, an individual, and DOES 1 to 100, inclusive                                            Davld,W, Slayton,
                                                                                                        l         .Executfve t3fficer/Clerk of Court,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                   By S. Bolden, Deputy Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE):
 CRAIG M GARRIOTT, an individual


 NOTICEt You have been sued. The court may decide against you without your being heard unless you respond withln 30 days. Read the-information
 below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a wrttten response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in:properlegal torm if you want the court`to hear your
 case. There may be a cour£form that you can use for your response. You can fnd these court`foriilsand rriore,information at the California Courts
 Online Self-Help Genter (v.rww.courtinfo.ca.gov/selfhelp), your county law library, orthe courthouse nearest.you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by detault, and your wages, money, and property
 may be taken wlthout further wa[ning trom the co.urt.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attomey
 referral service. If you cannot afford an attorney; you may be eligible for free legat services from a nonprofit legal services progra[n. You can locate
 these nonproflt groups,at.the California Legal Services Web site (wnvw,lavlhelpcalifomia.org), the California Courts..Oniine Self-Help`Center
 (wvnv.courtYnfo:ca.gov/se/Ihelp): orby oontacting your local'couit or courSty bar'assoclation. NOTE: The court has a'statutory Ilen forwalved fees and
  costs on any settletnent or arbitratlon award of 510,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 lAV/SO! Lo han demandado. Sino responde dentro de 30 d/as, la corte puede decidir en su contra sin escucharsu versi6n. Lea la informaci6n a
 con8nuaci6n.
    Tiene 30 D1AS DE GACENDARIO.despues:de. que le entregtiem.esta:citaci6n y papeles_legales para presentai una respuesfa por esciito.en esta
 cortey hecer que..se enlregue una copia al demandante tJna carta o una Ilamada te!efGnica no.lo prategen. Sq respuesta por escnto tiene .que estar
 en, formato legal.coriecto sr desea,que procesen su,caso en /a coile Es,pos+ble que haya un formularlo que usted pueda usar para su respuesta:
 Puede encontrar estos fortnularios de la corte y mas inforrnaadn en el `Centro de:Ayuda delas"'Coites de Califomia (www:sucotte.ca.gov), en /a
 biblloteca de leyes de su.condado o en la.corte que le.quede rnas cerca: Si no puede pagaria cuota,de presentacJdn, pida ai secretano:de la corfe.
 que Ie de un forrrrulano de exencron de pago de cuotas, Si, no presenla su respuesta a. Gempo, puede perder.el caso por;incumplimiento y la corte le
 podrá quitar.su• sueldo,'ifinero y tilenes s{n, más advertencia.
   Nayotros requisitos legates. 'Es recomendable q,uellartre a un.:abogado inmediatamente. Si no conoce a un abogado, puede Ilamara un servicio de
 remisidn a abogados. S( no puede pagar-a un abogado, es posible que.cumpla con los-requisitos.paiarobtenerservicios legales grafuitos tle un
 programa de:secvicios.legales sin frnes, de iucro. Puede enconlrar estos grupos.sin fines de.lucro en el sido web;de California Legaf Services.
 (www.Iawhelpcalrfomia:org), en.el Centra'de Ayuda de las Cortes de Ca/ifomla, (www.sucorte:'ca.gov) o poniendose eq contacto •con la corte o el
 colegio'de °abogadosloca/es. AV1SO: Porley, Ia.corte tiene>derecho a reolamar!as cuotas y los costos exentos porimponer un gravamen sobre
 cualquierrect/peracidn de 310,000.6 mas de valorrecibi.da mediante uR acuerdo o una concesiBn de arbitraje en un caso de derecho clNl. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                       CASE NUMBER
                                                                                                            (N6mero del Caso):
(El nombfe y direcci6n de la corte es):
Superior Courcof'California, CounEy of Los Angeles                                                           24STCV0903 l
 l 11 N. Hill Street; Los Angeles; CA 90012

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, •is:
(El nombre, la direcci6n y el nt5mero de telefono de/ abogado del demandante, o del demandante que no tiene abogado, es):
 SANSANOWICZ LAW GROUP, P.C. c/o Leonard H. Sansanowicz 21031 Ventura Boulevard, Suite 701
 Woodland Hills, CA 91364, tel: (818) 639-8510
DATE:                                                                    Clerk, by                                                                      , Deputy
        Q4/1112LJ24                                                                                S. Oolden                                             (Adjunfo)
(Fecha)                 Dadid W. Slay1ton, Executive 0ficerfClerkofCourt (Secretario)
(For proofof service of this summons, use Proof of Service of Summons (form POS-010).)
(Para pnueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-O1O)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1.          as an individual defendant.
                                  2.          as the person sued under the fictitious name of (specify):


                                      3 [~J on behalf of (specify): -
                                                                           MILLENNIUM SPACE
                                                                          'SYSTEMS, INC., a Delaware corporatlon
                                          under: [~]      CCP'4.16:"10"(corporation).                                  CCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)        0                    CCP 416.70 (conservatee)
                                                          CCP 416.40 (association or partnership)                      CCP 416.90 (authorized person)
                                                 [~     other (specify):
                                      4. 0      by personal delivery on (date):
                                                                                                                                                           Pa[lotoft
 Form Adopted for Mandatory Use                                        SUMMONS                                                    Code of CNiI Procedure §§ 41220. 465
   Judfcral Council of California                                                                                                                  Www.cvurfinfo.ca.gov
  SUM-100 [Rev. July 1, 2009]                                                                                                                W.W. ooc s rorm auodrr
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       SANSANOWICZ LAW GROUP, P.C.
     2 21031 Ventura Boulevard, Suite 701
       Woodland Hills, CA 91364                                          FILEQ
     3 Tel: (818) 639-8510                                    Superaar Court 4f CaTiiornia
                                                                Gountyof LosAngaas.
       Facsimile: (818) 639-8511
     4
       leonard~law-slg.corn                                         04/3012024
                                                     ~wid Y4 . Smy4m ,                 ! Ct    Caust
     5                                                 g~,.              N. (]solo ,      - peu1y
       Narak Mirzaie, Esq. (SBN 311508)
     6 M LAW ATTORNEYS, APC
       P.O. Box 60091
     7 Pasadena, CA 91102
       Tel: (626)626-4422
     8 Fax: (626)626-4420
       nm(c~7in lawattorn evs.com
     9
       Attorneys for PLAINTIFF CRAIG M GARRIOTT
    10
    11                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
    12              FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
    13 ~CRAIG M GARRIOTT, an individual,          Case No. 24STCV09031
    14                        Plaintiff,          [Assignedfor all intents andpurposes to the
                                                  Hon. Bruce G. Iwasaki, Dept. 58]
    15
              vs.
                                                  PLAINTIFF'S AMENDED COMPLAINT
    16                                            FOR DAMAGES FOR:
    17'                                            1.BATTERY;
       THE BOEING COMPANY, a Delaware              2. NEGLIGENCE;
    18 corporation, MILLENNIUM SPACE               3. NELIGENT RETENTION;
       SYSTEMS, INC., a Delaware corporation,      4. WHISTLEBLOWER RETALIATION IN
    19 JENNIFER BERINA-BUELNA, an
                                                      VIOLATION OF LABOR CODE § 6310;
    20 individual, NINA MATTERA, an individual,    5. WHISTLEBLOWER RETALIATION IN
       and DOES 1 to 100, inclusive,                  VIOLATION OF LABOR CODE §
    21                                                1102.5(b);
                             Defendants.           6. INJUNCTIVE RELIEF/DECLARATORY
    22                                                JUDGMENT;
    23                                             7. DEFAMATION PER SE; AND
                                                   8. INTENTIONAL INFLICTION OF
    24                                                EMOTIONAL DISTRESS.
    25                                            DEMAND FOR JURY TRIAL
    26
    27
    28

                             PLAINTIFF'S AMENDED C0MPLAINT FOR DAMAGES
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     1          COMES NOW Plaintiff Craig M. Garriott ("Plaintiffl' or "Mr. Garriott") for causes of action
     2 against The Boeing Company ("Boeing"), Millennium Space Systems, Inc. ("Millennium"), and

     3   DOES 1 to 100 inclusive (collectively with Boeing and Millennium, "Employer Defendants"), as
     4 welI as against Jennifer Berina-Buelna ("Berina'°), and Nina Mattera ("Mattera") (collectively with

     5   Employer Defendants, "Defendants"), alleging as follows:
     6                                      NATURE OF THE ACTION

     7          1.      This is a complaint brouglit under the California Labor Code, including
     8 whistleblower retaliation, as well as common law principles, for battery, negligence, negligent

     9 retention, and defamation per se. Plaintiff seeks compensatory, general, and punitive damages,

    10 injunctive and declaratory relief, attorney's fees, and costs of suit from Defendants.
    11          2.      Plaintiff and Defendants executed a tolling agreement effective October 5, 2023,
    12 mutually agreeing to toll all statutes of limitations that were viable as of the commencement of the
    13 tolling period through and including the sixtieth day after mediation. The parties attended mediation
    14 on February 12, 2024. The parties' Tolling Agreement is attached hereto as Exhibit A.
    15                                                PARTIES

    16          3.      Plaintiff Craig Garriott is, and at all times relevant was, an individual residing in Los
    17 Angeles County, California. Since approximately 1997, Mr. Garriott has been employed by The
    18 Boeing Company, Millennium Space Systems, Inc., and Does 1 to 100 ("Employer Defendants") in
    19 various positions, mostly as a technician.
    20          4.      Defendant The Boeing Company ("Boeing") is, and at all times relevant was, a
    21 Delaware corporation that jointly employed Plaintiffs and others in California, whose principal
    22 place of business is 1950 E. Imperial Highway, El Segundo, CA 90245.
    23          5.      Defendant Millennium Space Systems, Inc. ("Millennium") is, and at all times
    24 relevant was, a Delaware corporation that jointly employed Mr. Garriott and others in California,
    25 whose principal place of business is 1950 E. Imperial Highway, El Segundo, CA 90245.
    26          6.      Defendant Jennifer Berina-Buelna ("Berina") is, and at all times relevant was, an
    27 individual residing in Los Angeles County, Califoenia. During the relevant period, Berina was
    28 Spacecraft Manager of Boeing's O3B Department.

                                  PLAINTIFF'S AMENDED COMPLAINT FOR DAMAGES
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         1         7.      Defendant Nina Mattera ("Mattera") is, and at all times relevant was, an individual
         2 residing in Los Angeles County, California. During the relevant period, Mattera was Manager of
        3 Propulsion Area and reported to Ben Kroeter, Director of Operations for Boeing EI Segundo
         4 (Aerospace) (" Kroeter"), and Karl Gaugel (Assistant Director of Operations) ("Gaugel").
         5         8.      Plaintiff currently is unaware of the true names of the defendants sued herein as
         6 Does 1 through 100, inclusive. Plaintiff sues said defendants by said fictitious names and will
         7 amend this complaint when the true naaiies and capacities are ascertained or when such facts
         8 pertaining to liability are ascertained, or as permitted by law or by the Court. Plaintiff is informed
         9 and believes, and thereon alleges, that each of the fictitiously named defendants is in some manner
        10 responsible for the events and allegations set forth in this complaint. Plaintiff is informed and
        I1   believes, and thereon alleges, that Does 1 through 100 are the partners, joint employers, agents,
        12 owners, shareholders, directors, members, officers, managers, or employees of Boeing and/or
~       13 Millennium. Plaintiff is informed and believes, and thereon alleges, that at all relevant times, each
    3
                                             p ~ agent,
                                      p rincipal,
        14 defendant was an emPloYer~ P                   g ~ partner, j oint venturer, officer, director,
                                                  g , manager,

        15 controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest and/or
        16 predecessor in interest of some or all of the other Employer Defendants, and was engaged with
z
z
d       17 some or all of the other Employer Defendants in a joint enterprise for profit, and bore such other
~
        18 relationships to some or all of the other defendants so as to be liable for their conduct with respect
        19 to the matters alleged in this complaint. Plaintiff is informed and believes, and thereon alleges, that
        20 each defendant acted pursuant to and within the scope of the relationships alleged above, and that at
        21 all relevant times, each defendant did, knew or should have known about, authorized, ratified,
        22 adopted, approved, controlled, or aided and abetted the conduct of all other Employer Defendants,
        23 which proximately caused the damages herein alleged. Plaintiff is informed and believes, and
        24 thereon alleges, that each of said defendants is in some manner intentionally, negligently, willfully,
        25 or otherwise responsible for the acts, omissions, occurrences, and transactions alleged herein.
        26          9.     Plaintiff is further informed and believes, and thereon alleges, that each and all of the
        27 acts and omissions alleged herein was performed by, or is attributable to, Boeing, Millennium,
        28 Berina, Mattera, and/or Does 1 through 100, each acting as the agent, employee, alter ego, and/or

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                                      PLAINTIFF'S AMENDED COMPLAINT FOR DAMAGES
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     1 joint venturer of, or working in concert with, each of the other co-defendants and was acting within

     2   the course and scope of such agency, employment, joint venture, or concerted activity with legal
     3   authority to act on the others' behalf. The acts of any and all Defendants were in accordance with,
     4   and represent, the official policy and practice of Boeing and/or Millennium.
     5          10.     Boeing, Millennium, and the business entities sued as Does 1 through 100
     6   (collectively, "Employer Defendants"), were and are Plaintiffs employers. Under California law,
     7   Employer Defendants arc jointly and severally liable as einpluyers, or other persons acting on
     8   behalf of Employer Defendants, for violating, or causing to be violated, the violations alleged herein
     9   because they have each exercised sufficient control over the terms, wages, hours, working
    10 conditions, and/or employment of Plaintiff. Each Employer Defendant had the power to hire and
    11   fire Plaintiff and other employees, to supervise and control their work schedules and/or conditions
    12 of employment, to determine their rates of pay, and the right to control how or if Plaintiff and other
    13 employees were paid for time worked. Employer Defendants suffered or permitted Plaintiff to work
    14 and/or engaged Plaintiff and others to create a common law employment relationship. As joint
    15 employers of Plaintiff, Employer Defendants are jointly and severally liable for the damages and all
    16 other relief available to Plaintiff as alleged herein.
    17                                          JURISDICTIOIII AND VENUE                                  ‚

    18           11.    Jurisdiction for this matter lies properly with this Court because the monetary

    19 damages sought by Plaintiffs exceed the minimal jurisdiction limits of the Superior Court and will
    20 be established according to proof at trial. This Court also has jurisdiction over this action pursuant
    21 to the California Constitution, Article VI, § 10.
    22           12.    This Court also has jurisdiction in this matter because throughout his employment,

    23 Plaintiff has been a California citizen, as are Defendants Berina and Mattera. Further, there is no
    24 federal question at issue, as the issues herein are based solely on California statutes and law.
    25           13.    Venue is proper in this Court because Employer Defendants employ persons,
    26 including Plaintiff, in this county, and thus a substantial portion of the transactions and occurrences
    27 related to this action occurred in this county. (C.C.P. § 395.) Moreover, the principal violations of
    28

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                                   PLAINTIFF'S AMENDED COMPLAINT FOR DAMAGES
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         California law occurred in California, and the conduct of all Defendants which form the basis for
     2 ~ Plaintiff s claims occurred within or arose out of California and within this county.

     3                                        GENERAL ALLEGATIONS

     4            14.    Plaintiff incorporates by reference and re-alleges paragraphs 1 through 13, inclusive,

     5   as if fully set forth herein.
     6            15.    Mr. Garriott began working at Boeing around May 1997. (He worked for the

     7   predecessor company, Hughes Space and Communicatioiis Company, before Boeing acquired it.)

     8 Mr. Garriott has worked as an antennae technician and an aero vehicle technician, mostly as an aero

     9 vehicle technician. He became a shop steward of the United Brotherhood of Carpenters and Joiners

    10 of America ("Union") beginning in 2007 and became a senior shop steward around 2012.

                  A. Berina, a Powerful Manager, Retaliates Against Mr. Garriott After He Refuses to
    12               Participate in Illegal Activity She Requests.

    13            16.    In approximately 2017, Berina asked Mr. Garriott to lie about work performed on a

    14 government project (asking Mr. Garriott and others to sign off on work to verify it had been
    15   completed even when it had not or when they had not performed the work themselves), which he

    16 refused to do, complaining it was unethical. Berina's then-boss derided Mr. Garriott for not being a
    17 "team player." In retaliation for Mr. Garriott's refusal to participate in what he believed was illegal
    18 conduct, management demoted Mr. Garriott, and Berina convinced others to deny Mr. Garriott
    19 access to certain work opportunities. Specifically, Berina instructed another department, ViaSat,l to
    20 deny Mr. Garriott access to their area, to intentionally deprive Mr. Garriott of potential eamings,
    21 since the ViaSat program required a lot of overtime hours (one of the highest overtime areas at El
    22 Segundo). In so doing, Berina sought to prevent Mr. Garriott from working overtime in the top two
    23 job areas on site, O3B2 (under Berina's direct supervision) and ViaSat, which resulted in his losing
    24
    25 ~ ViaSat-3 is a global constellation of communications satellites owned by ViaSat, Inc., an American
         communications company, whose purpose (once launched) will be to provide hi-speed broadband
    26 connectivity for residential, commercial, and government use around the world. Upon information and belief,
         Boeing has partnered with ViaSat since 2016.
    27
         Z   03B is a satellite constellation in Medium Earth orbit ("MEO") owned and operated by SES, a European
    28 telecommunications company, that is designed to provide broadband connectivity to remote locations so that
         internet and mobile services can be more accessible to all. "03B" stands for "other three billion," as in the
                                                             -4-
                                     PLAINTIFF'S AMENDED COMPLAINT FOR DAMAGES
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         out on many hours of overtime. Shortly thereafter, Mr. Garriott took a union "leave" to work on
     2 behalf of the Union in the capacity of Business Agent, while remaining a Boeing employee. After

     3   Mr. Garriott transferred to the Business Agent position, Berina told other workers that Mr. Garriott
     4   was a bad technician, despite the fact he had received positive performance reviews to that point.

     5          17.      During the time he was on loan to the Union, Boeing put Mr. Garriott's Boeing

     6   position on hold. He worked as a Union employee from 2017 to 2022, upon which he returned to

     7   Boeing full-time and assumcd the role of senior shop steward. Mr. Garriott's job, both for the Union

     8   and for Boeing upon his return, was to file grievances with the Union on behalf of union workers

     9   employed by Boeing. After returning to Boeing, Mr. Garriott became Focal Steward at Boeing and

    10 then Chief Focal Steward, overseeing the Focal Stewards at both Boeing and Millennium.
    11                B. Berina Assaults Mr. Garriott, and Boeing Protects Her.

    12          18.      Around June 2022, Mr. Garriott found himself walking the floor of the high bay (the

    13 area where satellites are assembled) with other stewards, investigating why two non-union salaried3
    14 employees (engineers) were on the floor seemingly performing hourly (union) jobs (meaning,
    15 taking work opportunities away from union members), which, if true, would have been a violation
    16 of the collective bargaining agreement. When the stewards asked the engineers why they were
    17 performing union duties in violation of the contract, the engineers became defensive and responded
    18 to the stewards in a dismissive manner. Defendant Berina, who saw the exchange from a distance,
    19 intentionally walked over 300 feet to where Mr. Garriott was standing and physically assaulted him
    20 in front of other employees. Grabbing Mr. Garriott by both arms, Berina threatened, "You need to
    21 mind your fucking business!" Mr. Garriott protested and demanded Berina remove her hands from'
    22 him. When he tried to speak, however, Berina put her hands up to Mr. Garriott's face, as if to try to
    23
    24
         estimated number of people at the time the project was launched (around 2010) who did not have stable
    25 internet access. Boeing contracted with SES to supply satellites for the O3B program beginning in 2017. In
       2022, SES launched its mPOWER network (litips://www.ses.eom/o3b-mpower), and Boeing provided the
    26 first two satellites for the program (https://boeing.mediaroom.com/news-releases-statemeirts?item=131 182).
       SES either plans to contract or has contracted with Boeing for 24 additional mPOWER satellites.
    27
         3 Distinctions between "salaried" and hourly employees connotes the difference between union employees
    28 (hourly) and non-union positions.
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     1 l get him to stop talking. Mr. Garriott was shocked and humiliated by the unprovoked surprise attack.

     2           19.     There were multiple witnesses to the assault, as it took place out in the open on the
     3   high bay floor. The incident was also recorded by Boeing video cameras, as there are ,cameras
     4 virtually everywhere on the high bay floor. Nevertheless, the video evidence was destroyed mere

     5   days after the assault, despite clear protocols to the contrary.
     6          20.      The Berina assault was tumed over to the Boeing Ethics Department, and the
     7 Corporate Investigation tcam ("CI") investigated the iiicideiit. Tlie lead investigator noted there was

     8   no video of the incident. Upon information and belief, Boeing El Segundo's then-head of security
     9   left a note in the file that no video surveillance was available because it had been `-`inadvertently'°
    10 erased. At a meeting with Labor Relations (David Young, Head of Labor Relations — El Segundo)

    11   and Human Resources (Maryanne Koshar, Head of HR — El Segundo), Young and Koshar
    12 confirmed they had seen the video before it was erased. Despite clear policies prohibiting physical

    13 assaults on co-workers, Berina was never disciplined for her assault of Mr. Garriott, let alone

    14 terminated; Berina's boss simply told her not to do anything like that again. Moreover, the local HR

    15 department was ordered to cease its investigation of Berina.

    16           21.     It was clear upper management was interested in protecting Berina, as she manages
    17 what is the most lucrative department in Boeing, O3B, and management did not want to do anything

    18 to jeopardize that business.

    19           C. Mr. Garriott Again is Denied Access to the ViaSat Area.
    20           22. .   Around September or October 2022, Mr. Garriott's ViaSat badge suddenly stopped

    21   working, even though he was supposed to have access to special program areas like ViaSat. It took
    22 the personal plea by a leading scientist at Boeing on behalf of Mr. Garriott to have his ViaSat access

    23 reinstated.

    24           23.     Upon information and belief, Mr. Garriott's access to the ViaSat area was blocked in
    25 retaliation for having complained about the Berina assault.
    26           D. Berina's Retaliation Continues Into 2023, on Her Own and by Proxy.
    27           24.     Boeing's lack of accountability with Berina simply encouraged her to continue to
    28 target Mr. Garriott, both directly and through her proxies. Around March 2023, Mr. Garriott was

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          working the floor on mandatory overtime when he observed some salaried employees in the area
     2 not folIowing safety procedures. Mr. Garriott reminded them of the safety precautions they needed

     3 to take. One of the salaried employees, Kourken "Ken" Hamalian, pressured the Integration Lead on

     4 duty to remove Mr. Garriott and have his ViaSat access permanently denied. Mr. Garriott reported

     5 the incident to his senior shop steward, who reported the incident to David Young.

     6           25.    The Union interviewed Hamalian pursuant to its own investigation. He stated that the

     7 day aftcr Berina assaulted Mr. Garriott in 2022, she met with the ViaSat team and told them they

     8 should deny Mr. Garriott access to their area. Hamalian admitted that ViaSat did bar Mr. Garriott

     9 from their area in 2022, and that the salaried employees tried to get Mr. Garriott removed in March

    10 2023 because they were still relying on what Berina had told them about Mr. Garriott in 2022.

     11          26.    Other employees were emboldened by Berina's conduct, as well, and took notice of

     12 the lack of consequences for her actions. In 2023, Dylan Garriott (Mr. Garriott's son) approached an

     13 engineer on the floor who was not wearing safety glasses and asked her to follow the proper safety

    14 procedure. She told Dylan she would but did not. Dylan returned with his father, who again asked

     15 the engineer to put on her glasses, for safety purposes. An engineer •who primarily serves the O3B

     16 Department, Jessie Villegas, was standing nearby and started to protest. Mr. Garriott (senior) tried

     17, to explain to Villegas that everyone needed to follow safety protocols; in response, Villegas took a

     18 swipe at Mr. Garriott's face, which Mr. •Garriott was only able to avoid by jerking back his head

     19 quickly. To date, Villegas has never been disciplined for the incident.

    20           27.    In July 2023, Berina opened a CI complaint against Mr. Garriott in retaliation for ~

    21 making a protected safety complaint (i.e., reporting safety violations to try- to enforce Boeing's

     22 safety protocols for a safe and healthy work environment, per Cal OHSA requirements). Berina sent

     23 an email to upper management accusing Mr. Garriott of creating a hostile work environment and

     24 instructed other employes to submit false allegations against Mr. Garriott.

     25          E. Attacks Against Mr. Garriott Reach Upper Management, As We11.
     26          28.    Generally, Mr. Garriott's health and safety complaints were not annoying attempts to
     27 enforce arcane rules or his own capricious whims; they were designed to save lives and the

     28 company money. By way of example, around October or Novembqr 2023, salaried engineers failed ~

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     1 to secure a clamp band on a four-ton satellite; over a weekend (fortunately, since there were no

     2 technicians on the floor), the satellite fell to the floor. The satellite, which cost well over $1 billion,

     3   was just about to be delivered, and now it likely will need to be scrapped. Had technicians been on
     4 the floor when the satellite fell, workers could have been killed (and workers have been killed on

     5   the floor in the past). This experience highlights the importance of Mr. Garriott's continuous safety
     6 complaints and why he remains vigilant about protecting the lives of the workers under his

     7 supervision and the assets and equipmetit of the company. Yet he continuously has been retaliated

     8   against simply for doing his job, and that retaliation has reached upper management, as well.
     9          29.      Around May or June 2023, someone accidentally shorted out an entire battery on one
    10 of the satellites, an extremely dangerous event which could have caused the battery to burn up and
    11 kill workers on the floor. At a subsequent management meeting, Michelle Parker, Vice President for
    12       Space Mission Systems organization within Boeing Defense, Space & Security (in essence, the
    13 COO of the El Segundo facility; she is referred to intemally as "VP-Program Management
    14 Executive" of the Government Satellite Systems Department), reportedly said something to the
    15 effect of, "Isn't it odd that it was Craig Garriott's son who was responsible for this." Upon
    16 information and belief, it was two Integration Leads who are friends with Berina who told Parker
    17 that Dylan Garriott was responsible for the battery incident.
    18           30.     As a further and more recent example, in April 2024, Mr. Garriott was standing at

    19 the entrance of the El Segundo facility with Labor Relations Manager David Young, when he found
    20 himself next to Parker, who was talking to somebody else. Mr. Garriott had been trying to schedule
    21 a meeting with Parker to discuss a safety issue at Millennium, which was appropriate because
    22 Millennium's CEO, Jason Kim, reports directly to Parker. (The safety issue at Millennium Mr.
    23 Garriott was trying to address was a report that Millennium has been running thermal testing on
    24 equipment 24/7, even on weekends when no employees are present; it is extremely dangerous to run
    25 unmanned thermal testing, as unchecked overheating could cause fires or even detonate the entire
    26 facility.)4 Mr. Garriott had been instructed to go through Marianne Koshar, Head of HR, to schedule
    27
    28 4 Boeing, by contrast, runs thermal testing 24/7 but has three shifts of dedicated hourly employees, and at
       least one manager providing oversight each shift, so that the testing is always monitored.
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          a meeting with Parker, but had been told Parker was out of town. Seizing the opportunity to address
     2    Parker directly, Mr. Garriott waited until she had finished talking to the other person at the gate,
     3    then mentioned he had heard she was out of town and he needed to talk to her about a pressing I
     4 safety issue. Parker got in Mr. Parker's space, jabbed her finger at his chest, said, "I was out of

     5    town," and proceeded to tell him how she had met with a senator and a high-ranking military
     6    official and that Mr. Garriott had no idea what she did on a daily basis.
     7           31.     Sctting aside that Parker did not seem to know wliat was occurring in her own
     8    facilities on a daily basis, her conduct was considered a threatening gesture under Boeing's own
     9    policy. Mr. Garriott called for Boeing to pull the video of the incident and to perform a threat
    10 assessment, per the terms of the policy; this would have meant Parker would have been suspended,
    11 pending the investigation of the alleged incident. Mr. Garriot requested that the policy apply to
    12 Parker just like everybody else at Boeing (i.e., that she should not be held above the rules), and he
    13 asked for the threat assessment. Koshar refused to conduct the threat assessment or investigation.
    14 Parker then called for a threat assessment against Mr. Garriott, and he agreed, telling Boeing they
    15 should suspend both him and Parker and investigate the matter. Boeing refused to do so.
    16            E. As Part of His Union Duties, Mr. Garriott Investigates a Clear "Pay to Play"
    17               Practice by Mattera, Who Engages in a Campaign to Smear and Discredit Him.

    18            32.    Separate from the Berina assault, in 2022 Mr. Garriott also was made aware by the

    19 Union that Defendant Mattera had used her position at Boeing to purchase a $10 million propellant
    20 system from a company owned by a family friend of hers and then hired the child of the head of that
    21 company to her (Mattera's team) at Boeing. Mr. Garriott reasonably suspected this type of "pay to
    22 play" nepotism violated any number of anti-kickback, bribery, or corruption laws,5 including but
    23 not limited to Califotnia Penal Code section 641.3. Mr. Garriott also reasonably believed Mattera's
    24'
    25
    26
    27   Boeing's Compliance and Ethics webpage (available here: littps://www.boein.com/principIes/ethics-and-
          5
       compIiancenage) provides, " Boeing strictly forbids bribery and corruption of any kind... Retaliation against
    28 reporting parties is strictly prohibited, and action is taken against violators of anti-retaliation policies."

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         conduct violated Boeing's own Code of Conduct6 (both for its own employees and its suppliers)7 as
     2 I unethical conduct.8 He knew such quid pro quo dealing needed to be investigated and reported, to

     3 avoid even the appearance of impropriety.9

     4           33.      Mr. Garriott reported Mattera's conduct to Young and Koshar around September

     5   2022. He specifically requested his name be kept out of the complaint, though, as his wife, Kathy

     6 ~ Moonitz, worked near Mattera and Mattera was known to be retaliatory.

     7           34.     Despite this request to remain anonylnous, however, shortly after Mr. Garriott

     8 reported Mattera to management, Mattera solicited statements from Boeing employees purporting to

     9 establish that Mr. Garriott had threatened others with physical violence, as well as other untruths.

    10 Pursuant to her scheme, Mattera enlisted Kelinda Starr — a K-level manager who, like Mattera,
    11 reported directly to Kroeter and Gauge] — and the two of them falsely reported Mr. Garriott to the
    12 head of security at El Segundo, as well as sent emails about Mr. Garriott to dozens of other Boeing
    13 employees asking them to confirm the false allegations about the supposed threatening behavior.
    14 Upon information and belief, at least some of this conduct occurred in October 2022 or later.
    15           F. Mattera's Retaliation Continues Well After the Kickback Investigation.

    16
    17   6 The Boeing Code of Conduct specifically requires, "I will not engage in any activity that creates a conflict
       of interest for me or the company.°" It further provides, "I will promptly report any illegal, improper, or
    18 unethical conduct to my management or through other appropriate channels."
    19 ' The Boeing Supplier Code of Conduct requires, "We expect suppliers to prohibit their employees from
       receiving, paying, and/or promising sums of money or anything of value, directly or indirectly, intended to
    20 exert undue influence or improper advantage." Specifically, as per conflicts of interest, the policy provides,
                  suppliers to avoid all conflicts of interest or situations that give rise to the appearance of a
    21 "We expect
               conflict of interest. Suppliers must provide immediate notification to all affected parties in the event
       potential
    22 that an actual or potential conflict of interest arises. This includes a conflict between Boeing's interests and
       the interests of a supplier, a supplier's employees or its employees' close relatives, friends, or associates."
    23
         8 A 2021 Global Business Ethics Survey Report (linked from the Boeing website, and available here:
    24 https://www:ethics.ors/global-business=etliics=survey/) shows that from 2017 to 2020, observed conflicts of
         interest in the workplace rose 8%, from 15% to 23% of all observed ethical misconduct, with a higher jump
    25 of observed conflicts of interest at the management level, from 22% to 38%, or a 16% increase.
    26   Boeing's Company Procedure PRO-7 mandates, "An actual conflict of interest does not need to be present
         9
       to constitute a violation of this procedure. Activities that create the appearance of a conflict of interest must
    27 also be avoided to ensure that the reputation of Boeing and its employees is not harmed." Moreover,
       Boeing's Ethical Business Conduct Guidelines further provides, "Examples of conflicts of interest include,
    28 but are not limited to: Personal relationships with employees of other business entities that could
       influence an employee's decision concerning the selection of a supplier or its products."
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      1          35.    Mattera's retaliation against Mr. Garriott continued well after the investigation into
     2 the nepotism charge against her. Following a safety training class in September 2022 (which Mr.

      3   Garriott was attending as a Boeing employee, not in his Union capacity) that Kelinda Starr taught,
      4 Starr convinced the safety training manager, Paul Clark, to falsely send an email to HR and Labor

      5   Relations that Mr. Garriott was being disruptive during the class. Clark later recanted and issued an
      6 apology email, admitting Starr had coerced him into sending the false email.

    e 7          36.     In October 2022, Mattera atid Starr baselessly accused Mr. Garriolt of false hiring

      8 ,practices, including alleging Mr. Garriott was making hiring decisions and running the process "like

      9 a mafia boss." Boeing investigated, and Mr. Garriott was exonerated of these false charges, too.

    10           37.     Also separate from the above conduct, Mr. Garriott investigated complaints about

    11 another employee, who ultimately was terminated. Mattera was the manager for the area in which
    12 that employee worked. The investigation was expanded to include Mattera's role in some of the
    13 complained-of conduct, including but not limited to Mattera's supposed practice of calling non-
    14 exempt employees at home to pressure them to work overtime hours, including when.at least one of
    15 the employees was on bereavement leave. The Union turned over its investigation to Boeing; the
    16 company investigated the lower-level employee but not Mattera. Mattera complained to corporate
    17 investigators that Mr. Garriott was trying to build a case against her and the lower-level employee.
    18 While the corporate investigation was pending, Mattera called the lower-level employee to tell him
     19 that Mr. Garriott had gotten him suspended, thereby directly interfering with the investigation.
    20           38.     In February 2023, Mattera falsely accused Mr. Garriott of pulling Union members

    21 off the floor and stopping production, neither of which he can do contractually. Young, Koshar, and
    22 Kroeter (Mattera's direct boss), all investigated, and the three of them concluded Mr. Garriott had;
    23 done nothing wrong, and reprimanded Mattera. The next day, Mattera initiated a new complaint
    24 against Mr. Garriott; once again, Young, Koshar, and Kroeter concluded a Mattera .complaint
    25 against Mr. Garriott was false and unsubstantiated.
    26            G. Mattera Also Responds to the Complaint by Retaliating Against Garriott's Wife.
    27            39.    In addition to going after Mr. Garriott directly, Mattera also retaliated against Mr. ,
    28 Garriott's wife to get back at him, including but not limited to: falsely accusing Ms. Moonitz of
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     1 ~ having incorrectly purchased certain metals for the purpose of welding them to the satellites Boeing

     2 was manufacturing ("welds"), which purportedly had cost the company a lot of money (implying

     3   that Ms. Moonitz was incompetent at her job and had cost the company a lot of money); trying to
     4 'have Ms. Moonitz replaced with a different quality inspector; having work taken away from Ms.

     5 'Moonitz; and having management withhold information that Ms. Moonitz needed to be able to

     6 perform her job properly. In fact, Ms. Moonitz had not done what Mattera accused her of having

     7 done. However, the implication from Mattera's statement to Kroeter and Gaugel was that Ms.

     8 Moonitz was incompetent at her job, and the supposed mistake would render the product completely

     9 unworkable. Mattera made the statement as a matter of fact, not opinion, and intended to cause

    10 harm to Ms. Moonitz because of her association with Mr. Garriott.

    11          40.    Mattera's statement proved to be false, as Ms. Moonitz's boss reviewed her work

    12 ~ and determined she had not done anything wrong.
    13          41.    Around this time, another inspector was brought in to replace Ms. Moonitz. He
    14 agreed with Ms. Moonitz's boss' assessment, telling Ms. Moonitz that based on his considerable

    15 experience in the field, she had done a good job and had not done anything wrong, certainly not

    16 what she was being accused of.

    17          42.     Ultimately, Ms. Moonitz was allowed to keep her job. Nevertheless, shortly after the

    18 Mattera complaint, Ms. Moonitz suffered increased scrutiny from other managers in the area. She

    19 also received less work, and management stopped discussing with her what was going on with the

    20 satellites, which she needed to be able to perfonn her job properly.

    21          43.    After the Mattera complaint, other workers in Ms. Moonitz's area reported having

    22 seen emails that, in effect, said Ms. Moonitz was a poor worker or did bad work.

    23          I. In 2022, Millennium's COO Retaliates Against Mr. Garriott for Protected Activity.
    24          44.     Retaliation against Mr. Garriott has been pursued on the Millennium side, as well. In
    25 or about February 2022, Millennium Chief Operating Officer, Rory Hoffstatter, who is white,

    26 gathered five non-white employees in a room and told them that not everybody is treated equally in
    27 the company. The employees understood that to mean they were being treated disparately because

    28 of their race. As a matter of contract, any complaints of race discrimination must be reported to

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     1 Corporate Investigation. Mr. Garriott, in his capacity as Union rep, grieved the matter, and the

     2 Union prevailed on behalf of the employees. It was decided that Hoffstatter would issue an apology

     3 ~ and send it to CI; however, Hoffstatter never fulfilled his obligation.
     4          45.     After that process, Millennium conspired to bar Mr. Garriott from future meetings in
     5 which he was supposed to participate. Further, upon information and belief, Hoffstatter sent emails

     6 to Boeing Labor Relations that Mr. Garriott had committed misconduct, which was not true.

     7          J. Millenuiutn's Retaliation Continues Into 2023.
     8          46.     In or about April 2023, several employees renewed their complaint with the Union
     9 that Hoffstatter had never issued an apology for his conduct in February 2022. Mr. Garriott renewed

    10 the Union's request for the Hoffstatter apology. Hoffstatter and Millennium CEO Jason Kim
    11 subsequently placed Mr. Garriot under CI investigation, which John Turner, Head of Labor
    12 Relations (which oversees Boeing and Millennium), corifirmed with Mr. Garriott directly.
    13          47.     Shortly after Turner confirmed the Hoffstatter/Kim CI investigation, Chuck Brockett,
    14 a Millennium manager, contacted Labor Relations and falsely accused Mr. Garriott of committing
    15 misconduct during a training class. Brockett later admitted he had never even attended the class.
    16          48.     In May 2023, during a meeting with Labor Relations, Mario Pavochick, another
    17 Millennium manager, called Mr. Garriott a "fucking asshole" to Mr. Garriott's face in front of
    18 others. That type of language violated Boeing's and Millennium's policies and warranted discipline..
    19 No disciplinary action was taken against Pavochick.
    20           49.    In December 2023, Mr. Garriott parked in the visitor's parking Iot at Millennium and
    21 was on the phone with Koshar. Before Mr. Garriott could exit his car, a Millennium security guard
    22 — who knew Mr. Garriott but who also reported to Hoffstatter — blocked Mr. Garriott from opening I
    23 the driver-side door and kept him there for 15-20 minutes (all the while as Mr. Garriott was on the
    24 phone with HR's Koshar, describing what was occurring in real time). Upon information and belief,
    25 the security guard, who reports directly to Hoffstatter, was shadowboxing in the office after he saw
    26 Mr. Garriott drive onto campus in the moments before he approached the car to harass Mr. Garriott.
    27           K. Boeing Has Tried to Bury the Attacks on Craig Garriott.
    28           50.    Around late 2022 or early 2023, Mr. Garriott reached out to Crystal Rivas, Head

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       1 Ethics, to make both verbal and written complaints about the assault, harassment, and defamation he

       2    had endured in the past year. Boeing policy requires the Ethics department to open an investigation
       3    with a case number for each ethics complaint. In March 2023, Mr. Garriott asked Rivas for his file
       4 so he could get a copy ofthe complaints he had made to her previously. Rivas did not produce a file

        5   and could not even produce a case number for any of Mr. Garriott's ethics complaints. Upon
       6    infornnation and belief, Rivas was told by Boeing management not to investigate Mr. Garriott's
        7 complainls, so she did not.

        8          L. The Retaliation Against Both Mr. Garriott and Ms. Moonitz Has Severely and
        9             Negatively Impacted Their Marriage and Family.

       10          51.     The stress of the retaliation has taken its toll on Mr. Garriott and Ms. Moonitz's
                                                                                           times since 2023
       11 marriage. They have only been married since 2021 yet have been separated several
V
       12 and have spent much of their marriage trying to reconcile these separations.
a      13          52.     Moreover, both of Mr. Garriott's adult children who are employed at Boeing have•
C7 3
                                                                                                   father. Dylan
~y     14 been targeted, overly scrutinized, and/or outright retaliated against because of their
       15 Garriott disassociated himself from his father for a while for fear that associating with Mr. Garriott
                                                                                      seeing his grandchildren
O¢     16 would cause him to be retaliated against. Mr. Garriott has been barred from
       17 out of the same concerns. Defendants' retaliatory conduct has had wide-ranging effects beyond the
cI     1 g facilities where the family works.

       19          53.     Owing to his longstanding tenure with the company, his responsibilities as a Union
       20 steward, and his own sense of personal accountability, Mr. Garriott takes his job and job duties very
                                                                                      at work, and he has
       21 seriously. He knows that •others depend on him to protect their interests
                                                                                           and Millennium
       22 improved labor relations in his Union capacity. However, management at Boeing
       23 are vexed that Mr. Garriott continually reminds them they are not following protocols, even when
       24 those protocols are designed to ensure maximum safety on the floor, because management is more:
                                                                                             (Indeed, Michelle
       25 concerned with the bottom line than with the basic needs of their employees.
                                                                                         direction, .and nrofit:
       26 Parker's bio provides, "She is responsible for program execution, strategic
                                                                                                space systems
       27 ,and loss for a portfolio that includes government and commercial satellites,
       28 11 architecture, national security space programs, [and] ground systems...") It is this "profits over

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     1 people" mentality which has caused Boeing management to target Mr. Garriott and those around

     2 him, because he is an inconvenient reminder that their bad actions have consequences.

     3                                      FIRST CAUSE OF ACTION

     4                                               BATTERY
     5                  (By Plaintiff Against Defendant Berina and Employer Defendants)

     6         54.      Plaintiff incorporates by reference and re-alleges the allegations contained in

     7 paragraphs 1 through 53, inclusive, as though fully set forth herein.

     8         55.      As detailed above, Defendant Berina intended to cause a harmful and offensive

     9 contact with Mr. Garriot's body and did intentionally subject Mr.
                                                                         Garriott to an unwanted touching
                                                                                      silence, or by his
    10 by grabbing him. Mr. Garriott did not consent (either by words, through his
                                                                                       by the touching.
    11 actions) to Berina's unwanted touching, and he was actually harmed and offended
    12          56.     A reasonable person in Mr. Garriott's situation would have been offended by the

    13 touching, too.                                                           -

    14          57.     Plaintiff is informed and believes and thereon alleges that all times relevant, Berina
                                                                                   of her duties as an
    15 was an employee of Employer Defendants acting within the course and scope
                                                                             contact with Mr. Garriott
    16 employee. Employer Defendants authorized Berina to come into physical
                                                                               above him, knowing the
    17 and for him to be in her presence and placed her in a position of power
                                                                                 harm to Mr. Garriott.
    18 likelihood that she would take advantage of that position to cause actual
                                                                                   had retaliated against Mr.
    19 Employer Defendants had actual or constructive knowledge that Berina
                                                                                 Thus, Employer Defendants
    20 Garriott previously for his refusal to participate in her illegal scheme.
    21 aided, abetted, and/or ratified Berina's battery after learning of it, including but not limited to
                                                                                action at all.
    22 allowing her to remain employed in her position without any disciplinary
    23        58.     As a proximate result of Berina's wrongful conduct, Mr. Garriott has suffered
                                                                                      t, fright, shock, pain,
    24 emotional and mental distress, anguish, humiliation, shame, embarrassmen
                                                                               trial.
    25 discomfort, and anxiety, in an amount according to proof at the time of
    26          59.     The actions of these Defendants as alleged herein were carried out with malice,
                                                                                full knowledge of their
    27 willfulness and/or reckless indifference to Mr. Garriott's rights, with
                                                                                      under the law. Mr.
    28 unlawfulness, and with the intent to deprive Mr. Garriott of rights guaranteed

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      1 Garriott is entitled to punitive damages for the purpose of deterring such unlawful, malicious,
      2 oppressive and/or reckless conduct. Defendants' conduct described herein was engaged in by
      3 officers, directors, and/or managing agents for Employer Defendants and/or ratified by officers,
       4 directors, and/or managing agents.
       5                                    SECOND CAUSE OF ACTION

       6                                             NEGLIGENCE

       7                  (By Plaintiff Against Dcfendant Berina and Employer Defendants)

       8          60.    Plaintiff incorporates by reference and re-alleges the allegations contained in
       9~paragraphs 1 through 59, inclusive, as though fully set forth herein.

      10          61.    It is the public policy of the State of California that employees be employed under
                                                                             applicable regulations.    -
      11 the minimum temis and conditions established by the Labor Code and
      12        62.   At all times relevant herein, Mr. Garriott was an employee of Employer Defendants.

~     13          63.    At all times relevant herein, Labor Code sections 6400, 6401, 6402, 6403, 6404, and
 3
                                                                              Defendants. Further, at all
~y    14 6406 were in full force and effect and were binding on Employer
      15 relevant times, Labor Code section 6406 was binding on Defendant
                                                                          Berina.

      16          64. Labor Code section 6400 provides, "Every employer shall furnish employment and a
zO~
      17 place of employment that is safe and healthful for the employees therein."
 z
c~n   18          65. Labor Code section 6401 provides in relevant part, "Every employer shall do every
                                                                           health of employees."
      19 other thing reasonably necessary to protect the life, safety, and
      20         66. Labor Code section 6402 provides, "No employer shall require, or permit an employee
                                                                                or healthful." Labor Code
      21 to go or be in any employment or place of employment which is not safe
                                                                          place of employment that is not
      22 section 6404 provides, "No employer shall occupy or maintain any
      23 safe and healthful."
      24          67. Labor Code section 6403 provides in relevant part that an employer must "do every
                                                                                  of employees."
      25 other thing reasonably necessary to protect the life, safety, and health
      26         68. Labor Code section 6406 provides in relevant part, "No person shall...Fail or neglect
                                                                                   and health of employees."
      27 to do every other thing reasonably necessary to protect the life, safety,
      28         69. In addition to their statutorily created duties, both Employer Defendants and Berina

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            owed Mr. Garriott and other employees a common law duty to use reasonable care to prevent harm.
     2 to those employees, both in their actions and in their failure to act to prevent harm.
     3             70.      Thus, Berina and Employer Defendants owed Mr. Garriott a legal duty to provide
     4      him with a safe and healthy workplace free of violence and unwanted touchings.
     5             71.      Berina breached her duty by physically attacking Mr. Garriott. Employer Defendants
     6      breached their duty in that they knew of Berina's history of retaliating against Mr. Garriott but
     7      failed to safeguard him from any further attacks by Berina, either figuratively or to his person,
      8     including but not limited to instructing Berina not to retaliate against Mr. Garriott in any manner,
     9      including by physically attacking him, or by separating the scope of Berina's duties from those of
    10 Mr. Garriott so the two did not cross paths.
    11             72.      Moreover, at all times relevant herein, Labor Code sections 3601 and 3602 were in
    12 full force and effect and were binding on Employer Defendants.
    13             73.      Labor Code section 3601, subdivision (a)(1), provides that even though an employee
    14 may recover damages from his employer for the injury caused by another employee, a plaintiff may
    15 recover damages directly against the other employee, "When the injury...is proximately caused by
     16 the willful and unprovoked physical act of aggression of the other employee."
     17            74.      Labor Code section 3602, subdivision (b)(1), provides that an employee may recover
     18 damages from his employer for the injury caused by another employee, "Where the employee's
     19 injury...is proximately caused by a willful physical assault by the employer."
    20             75.      It is well established that physical assaults do "not stem[] from a risk reasonably

    21 encompassed within the compensation bargain" of the employment relationship, certainly not in
    22 Mr. Garriott's work environment. Shoemaker v. Myers (1960) 52 Ca1.3d 1, 16.
    23             76.      A reasonable person in Berina's position would not have attacked Mr. Garriott
     24                  at work.
     25 ,          77.      A reasonable employer in Employer Defendants' position would have taken
     26 appropriate measures to ensure that Berina was not in a position to harm Mr. Garriott.
     27 1          78.       Employer Defendants ratified Berina's act by actively destroying video evidence that
     28 1 the assault had occurred and by halting the investigation before any findings could be made.

                                                             -   l,   -

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     1          79.     Mr. Garriott used a reasonable amount of care for his own safety and did not do
     2 anything to invite or to cause Berina's intentional and unwanted touching.

     3          80.     Berina's breach and Employer Defendants' breach were the proximate causes of Mr.
     4 Garriott's resulting harm.

     5          81.     Berina's and Employer Defendants' negligence was a substantial factor in causing
     6 Mr. Garriott harm and has resulted in damage and injury to Mr. Garriott as alleged herein.

     7          82.     As a direct and foreseeable result of the aforesaid acts of said Defendants, Mr.
     8 Garriott has lost and will continue to lose income and benefits in an amount to be proven at trial.

     9          83.     As a direct and foreseeable result of the aforesaid acts of said Defendants, Mr.
    10 Garriott claims general damages for mental and emotional distress and aggravation in an amount to
    11 be proven at the time of trial.
    12          84.     The actions of these Defendants as alleged herein were carried out with malice,
    13 willfulness and/or reckless indifference to Mr. Garriott's rights, with full knowledge of their
    14 unlawfulness, and with the intent to deprive Mr. Garriott of rights guaranteed under the law. Mr.
    15 Garriott is entitled to punitive damages for the purpose of deterring such unlawful, malicious,
    16 oppressive and/or reckless conduct. Defendants' conduct described herein was engaged in by
    17 officers, directors, and/or managing agents for Employer Defendants and/or ratified by offcers,
    18 directors, and/or managing agents.
    19                                      THIRD CAUSE OF ACTION

    20                                       NEGLIGENT RETENTION

    21                               (By Plaintiff Against Employer Defendants)

    22          85.     Plaintiff incorporates by reference and re-alleges the allegations contained in

    23 paragraphs 1 through 84, inclusive, as though fully set forth herein.
    24        86. At all times relevant herein, Defendants Berina and Mattera were employees of

    25 Employer Defendants, as was Rory Hoffstatter, and each was in a supervisory and/or management
    26 position and therefore an agent of Employer Defendants.
    27          87.     Based on the above conduct, it was apparent that Berina, Mattera, and Hoffstatter

    28 were unfit for their supervisory positions, and that this unfitness created a particular risk to others.
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      I   Specifically, Employer Defendants' continued employment of Berina in a supervisory position
      2   allowed her to physically assault Mr. Garriott and created an environment in which Berina and
      3   other employees under her supervision or control were emboldened to physically strike at and/or
      4   retaliate against Mr. Garriott because of Berina's prior conduct towards Mr. Garriott. Similarly,
      5   Employer Defendants' continued employment of Mattera in a supervisory position allowed her to
     6 retaliate against both Mr. Garriott and Ms. Moonitz without repercussion. And Employer
      7 Defendants' continued employment of Hoffstatter in a supervisory position allowed him, either
      8 directly or through his direct reports, to retaliate against Mr. Garriott for doing his job.
      9          88.       The unfitness of Berina, Mattera, and Hoffstatter, and each of them, caused harm to
     10 I Mr. Garriott.
     11          89.       Employer Defendants have been on notice since at least 2017 of Berina's retaliatory
     12 motive against Mr. Garriott, since at least 2022 of Mattera's retaliatory motives against Mr. Garriott
     13 and Ms. Moonitz, and since at least 2023 of Hoffstatter's retaliatory motive against Mr. Garriott,
     14 yet Employer Defendants have done nothing to remove Berina, Mattera, and/or Hoffstatter from
     15 positions from which they could continue to retaliate against Mr. Garriott and Ms. Moonitz.
     16          90.       Employer Defendants' negligence in retaining Berina was a substantial factor in
     17 ~ causing Mr. Garriot harm.
     18          91.       Employer Defendants' negligence in retaining Hoffstatter was a substantial factor in

     19 l causing Mr. Garriot harm.
    20           92.       As a direct and foreseeable result of the aforesaid acts (or inaction) of Employer

    21 ~ Defendants, Mr. Garriott has lost and will continue to lose income and benefits in an amount to be
     22 proven at trial.
    23           93.       As a direct and foreseeable result of the aforesaid acts (or inaction) of Employer
     24 Defendants, Mr. Garriott claims general damages for mental and emotional distress and aggravation
    25 in an amount to be proven at the time of trial.
     26          94.       The actions or inactions of these Defendants as alleged herein were carried out with
     27 malice, willfulness and/or reckless indifference to Plaintiff's rights, with full knowledge of their
    28 unlawfulness, and with the intent to deprive Plaintiff of rights guaranteed to him under the law.
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     1 Plaintiff is entitled to punitive damages for the purpose of deterring such unlawful, malicious,
     2 oppressive and/or reckless conduct. Defendants' conduct described herein was engaged in by
     3 officers, directors, and/or managing agents for Employer Defendants and/or ratified by officers,

     4 ~ directors, and/or managing agents.

     5                                    FOURTH CAUSE OF ACTION

     6        WHISTLEBLOWER RETALIATION, IN VIOLATION OF LABOR CODE § 6310

     7                              (By Plaintiff Against Employer Defendants)

     8          95.    Plaintiff incorporates by reference and re-alleges the allegations contained in

     9 paragraphs 1 through 94, inclusive, as though fully set forth herein.

    10          96.    At all relevant times, Labor Code section 6310, subdivision (a), was in full force and
                                                                                   in relevant part, "No
    11 effect and was binding on Employer Defendants. Subdivision (a)(1) provides
                                                                                           the employee
    12 person shall discharge or in any manner discriminated against any employee because
                                                                                health or safety]..."
    13 has...Made any oral or written complaint to...their employer [related to
    14        97.   Mr. Garriott complained that Berina physically attacked him and thus disturbed his

    15 safety and health in the workplace.
    16         98.    Employer Defendants ignored Mr. Garriott's complaint, refused to comply with their
                                                                        and complete investigation, and
    17 own investigation policies or protocols and conduct a thorough
                                                                                    in an unsolicited and
    18 failed or refused to discipline Berina for physically attacking Mr. Garriott
    19 unconsented to manner in the workplace.
    20       99.     Employer Defendants discriminated against Mr. Garriott by failing to take his
                                                                             completely investigate his
    21 complaints of physical attack seriously, by failing to thoroughly and
                                                                                to investigate him with
    22 complaints against Berina and others who attacked him, and by continuing
    23 every false claim alleged against him, as described more fully herein.
    24        100. Defendant Berina discriminated against Mr. Garriott for his health and safety
                                                                              incompetent at his job and
    25 complaints against her, inter alia, by falsely accusing him of being
                                                                                to the ViaSat area.
    26 falsely alleging that he would cause problems with the Union if admitted
    27          101. Berina's conduct also has created an environment in which other employees have
                                                                                   physical safety and ~
    28 felt emboldened to physically attack Mr. Garriott, which has endangered his
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                                  PLAINTIFF'S AMENDED COMPLAINT F0R DAMAGES
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     1 ~ sense of well-being at work.

     2          102.As a proximate result of the wrongful conduct of these Defendants, and each of them,
     3   Mr. Garriott has suffered and continues to sustain actual damages including, but not limited to, loss
     4 of earnings, costs of suit, and other pecuniary loss in an amount not presently ascertained, but to be

     5 ~ proven at trial.

     6          103.As a further proximate result of the wrongful conduct of these Defendants, and each of
     7 ~them, Mr. Garriott has suffered emotional and mental distress, anguish, humiliation, shame,

     8 embarrassment, fright, shock, pain, discomfort, and anxiety, in an amount according to proof at the

     9 time of trial.

    10           104. The actions of these Defendants as alleged herein were carried out with malice,
    11   willfulness and/or reckless indifference to Mr. Garriott's rights, with full knowledge of their
    12 unlawfulness, and with the intent to deprive Mr. Garriott of rights guaranteed under the law. Mr.

    13 Garriott is entitled to punitive damages for the purpose of deterring such unlawful, malicious,

    14 oppressive and/or reckless conduct. Defendants' conduct described herein was engaged in by

    15 officers, directors, and/or managing agents for Employer Defendants and/or ratified by officers,

    16 directors, and/or managing agents.

    17                                      FIFTH CAUSE OF ACTION

    18       WHISTLEBLOWER RETALIATION, IN VIOLATION OF LABOR CO]DE § 1102.5(b)

    19                               (By Plaintiff Against Employer Defendants)

    20           105. Plaintiff incorporates by reference and re-alleges the allegations contained in

    21   paragraphs 1 through 104, inclusive, as though fully set forth herein.

    22           106. At all relevant times, Labor Code section 1102.5, subdivision (b), was in full force

    23 and effect and was binding on Employer Defendants. Subdivision
                                                                      (b) provides in relevant part, "An

    24 employer, or any person acting on behalf of the employer, shall
                                                                       not retaliate against an employee

    25 for disclosing information... to a person with authority over the employee
                                                                                  or another employee who

    26 has the authority to investigate, discover, or correct the violation
                                                                            or noncompliance... if the
                                                                               a violation of state or
    27 employee has reasonable cause to believe that the information discloses

    28 federal slatute, or a violation of or noncompliance with a local,
                                                                         state, or federal rule or regulation,

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     1   regardless of whether disclosing the information is part of the employee's job duties."
     2          107. Mr. Garriott had reasonable cause to believe that Mattera was engaged in the crime
     3   of bribery/kickbacks, Penal Code section 641.3, and reported this to Maryanne Koshar and David
     4   Young, persons with authority to investigate, discover, or correct the violation. Penal Code section
     5   641.3 defines commercial bribery, in part, as "Any employee who solicits, accepts, or agrees to
     6   accept money or any thing of value from a person other than his or her employer, other than in trust
     7   for the employer, corruptly and without the knowledge or consent of the employer, in exchange for
     8   using or agreeing to use his or her position for the benefit of that other person...." Mr. Garriott had
     9   reasonable cause to believe that Mattera had accepted some sort of thing of value in exchange for
    10 kicking back a sweetheart contract to her friend and placing his child on the Boeing payroll.
    11          108. Mr. Garriott further alleges that Mattera, while acting on behalf of Employer
    12 Defendants, retaliated against him for disclosing this information to Ms. Koshar and Mr. Young.
    13 Mr. Garriott's whistleblowing, which was an activity protected under the law, was a contributing
    14 factor to Boeing's suspicion of him and subsequent retaliatory acts. Moreover, Mr. Garriott alleges
    15 that Mattera retaliated against him by retaliating against his wife to try to pressure Mr. Garriott to
    16 stop investigating her illegal and unethical conduct and to sow discord into his marriage.
    17          109. Mr. Garriott had further reasonable cause to believe that Mattera illegally interfered
    18 with employees' leaves of absence, in violation of company policy and Government Code section
     19 12945.2 and/or 12945.7, and he reported those violations to persons with authority to investigate,
    20 discover, and/or correct the allegations.
    21          110. Mr. Garriott further alleges that Mattera, while acting on behalf of Employer
    22 Defendants, retaliated against him for disclosing this information to persons with such authority,
    23 and that such retaliation for Mr. Garriott's disclosure was a contributing factor to Boeing's
    24 suspicion of him and to Mattera's further retaliation against Ms. Moonitz.
    25          111. Mr. Garriott also alleges he had reasonable cause to believe that Hoffstatter engaged
    26 in discrimination in employment based on race, in violation of Government Code section 12940(a).
    27 Mr. Garriott reported this violation to persons with the authority to investigate, discover, and/or
    28 correct the violation.
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                 112. Mr. Garriott further alleges that Hoffstatter, while acting on behalf of Employer
     2 Defendants, retaliated against Mr. Garriott for disclosing this information to persons with such

     3    authority, and that Mr. Garriott's disclosure was a contributing factor to Millennium's suspicion of
     4 him and to such conduct as being placed under investigation for pretextual reasons, being falsely

     5    accused of misconduct at a meeting, being called a "fucking asshole" during a meeting with Labor
     6    Relations, and having management seek to bar him from meetings which he was entitled to attend.
      7          113. The above adverse employment actions were intended to intimidate and silence Mr.
      8   Garriott, to portray him as a malcontent and a bad employee, and to deny him the ability to do his
      9 job effectively.

    10           114.As a proximate result of the wrongful conduct of these Defendants, and each of them,
    11 Mr. Garriott has suffered and continues to sustain actual damages including, but not limited to, loss
    12 of earnings, reliance damages, costs of suit and other pecuniary loss in an amount not presently
    13 ascertained, but to be proven at trial.
     14          115.As a further proximate result of the wrongful conduct of these Defendants, and each of
    15 them, Mr. Garriott has suffered emotional and mental distress, anguish, humiliation, shame, ~
     16 embarrassment, fright, shock, pain, discomfort, and anxiety, in an amount according to proof at the ~
     17 time of trial.
     18          116. The actions of these Defendants as alleged herein were carried out with malice, ~

     19 willfulness and/or reckless indifference to Mr. Garriott's rights, with full knowledge of their
    20 unlawfulness, and with the intent to deprive Mr. Garriott of rights guaranteed under the law. Mr.
     21 Garriott is entitled to punitive damages for the purpose of deterring such unlawful, malicious,
     22 oppressive and/or reckless conduct. Defendants' conduct described herein was engaged in by
     23 officers, directors, and/or managing agents for Employer Defendants and/or ratified by officers,
     24 directors, and/or managing agents.
    25           117. As a result of these Defendants' conduct as alleged herein, Mr. Garriott is entitled to
     26 an award of reasonable attomey's fees pursuant to Labor Code section 1102.5, subdivision (j). Mr.
     27 Garriott is further entitled to costs of suit as provided for in Code of Civil Procedure section 1021.5.
     28 ///

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                                                 SIXTH CAUSE OF ACTION

         2                        INJUNCTIVE RELIEFIDECLARATORY JUDGMENT

         3                               (By Plaintiff Against Employer Defendants)

         4           118. Plaintiff incorporates by reference and re-alleges the allegations contained in

         5    paragraphs 1 through 117, inclusive, as though fully set forth herein.

         6           119. California Labor Code section 1102.5 "reflects the broad public policy interest in

         7    cncouraging workplacc whistle-blowers to report unlawful acts without fearing retaliation." Green

         8    v. Ralee Eng'g Co. (1998) 19 Cal.4th 66, 77 (affirmed by Lawson v. PPG Architectural Finishes,

         9 Inc. (2022) 12 Ca1.5th 703, 709).

~       10I          120. An actual controversy has arisen and now exists between Plaintiff and Employer

        11 Defendants concerning the parties' respective rights and duties, as it is believed that Employer
        12 Defendants may contend that they did not retaliate against Mr. Garriott because Mr. Garriott blew
        13 the whistle on what he reasonably believed was illegal conduct. Plaintiff, by contrast, alleges that
        14 Employer Defendants did in fact retaliate against him for his whistleblowing activity. Plaintiff
        15 therefore is informed and believes, and on that basis alleges, that Employer Defendants will dispute
        16 Plaintiffls whistleblower retaliation causes of action.
        17           121. Pursuant to California Code of Civil Procedure section 1060, Plaintiff seeks a ~

        18 judicial determination of Plaintiffls rights and Employer Defendants' duties, and a declaration that
        19 Employer Defendants retaliated against Plaintiff because of his protected whistleblowing activity.
        20 In so doing, Plaintiff seeks a judicial determination and declaration that Employer Defendants'
        21 retaliation against him for his whistleblowing activities was a contributing factor in the decisions to
        22 take adverse employment actions against him.
        23            122. Pursuant to California Labor Code sections 1102.61 and 1102.62, Plaintiff petitions

        24 the Court for injunctive relief until a judicial determination has been issued, or at a time certain set
        25 by the Court, to enjoin Employer Defendants from further retaliating against Plaintiff for his
        26 protected whistleblower activity.
        27            123. A judicial determination is necessary and appropriate so that Plaintiff, on his own

        28    behalf and on behalf of other employees in the State of California, and in conformity with the public

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     1 policy of the State, may obtain a judicial declaration of Employer Defendants' wrongdoing and to

     2 prospectively condemn such retaliatory employment policies and/or practices.

     3           124. A judicial determination also is necessary and appropriate so that Employer
     4 Defendants may be aware of their obligations under the law to not retaliate against employees who

     5    blow the whistle on what the employees reasonably believe is a violation of state or federal statute
     6 or a violation of or noncompliance with a local, state, or federal rule or regulation. Such relief is

     7 necessary because other employees of Employer Defendants will be irreparably harmed if the

      8 above-described retaliation is allowed to continue.

     9           125. Plaintiff is entitled to recover prevailing party reasonable attorney's fees pursuant to
    10 Labor Code section 1102.5, subdivision (j), to redress, prevent, or deter retaliation.

    11                                     SEVENTH CAUSE OF ACTION

    12                                        DEFAMATION PER SE

    13                                  (By Plaintiff Against All Defendants)

    14           126. Plaintiff incorporates by reference and re-alleges the allegations contained in

     15 paragraphs 1 through 125, inclusive, as though fulIy set forth herein.

    16           127. Defendants and/or their agents or employees made intentionally false statements of

     17 fact to other individuals, which tended to injure Plaintiff
                                                                    directly in his occupation, including but

     18 not limited to such things as that Plaintiff was incompetent at
                                                                        his job, that Plaintiff supposedly had

     19 physically threatened his coworkers, that Plaintiff supposedly
                                                                       had engaged in false hiring practices,

    20 that Plaintiff would cause trouble if allowed access
                                                            to the ViaSat area, and that Plaintiff had

    21    engaged in misconduct at a company meeting.

    22           128. Defendants and/or their agents or employees made false and libelous and/or
                                                                                        in his occupation,
    23 slanderous accusations, impugning Plaintiffls honesty, integrity, and competence

    24 despite knowing the statements were false.

    25           129. Such libelous and/or slanderous publications were republished multiple times over

    26 by Defendants and/or their agents or employees.

     27          130. When Defendants made the aforementioned statements, Defendants deliberately and

     28 ' intentionally communicated false and damaging statements,
                                                                        knowing that such statements would

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     l seriously injure Plaintiffs reputation and his ability to earn a living.
     2          131. The defamatory statements were understood to be assertions of fact, not opinion.
     3          132. Within one year of the date this lawsuit was filed, Plaintiff has been or will have
     4   been forced to self-publish the false and defamatory reason(s) he was disciplined either to
     5   prospective employers (who, as a matter of course, asked or will ask about Plaintiffls employment
     6 with Employer Defendants), or within Employer Defendants themselves. At the time they were

     7 made, it was reasonably foreseeable that the defamatory statements would be repeated to

     8   prospective employers or internally within Employer Defendants.
     9          133. Each of these false defamatory per se publications were negligently, recklessly, and
    10 intentionally published in a manner equaling malice and abuse of any alleged conditional privilege
    11 (which Plaintiff denies existed), since the publications, and each of them, were made with hatred,
    12 ill will, and an intent to vex, harass, annoy, and injure Plaintiff to justify the illegal and cruel
    13 actions of Defendants, and each of them, to cause further damage to Plaintiffls professional and
    14 personal reputations, to cause Plaintiffto be disciplined, or to justify disciplining Plaintiff.
    15          134. Defendants, and each of them, lacked reasonable ground for belief in the truth of the
    16 defamatory statements and thereafter acted in reckless disregard of Plaintiffs rights.
    17          135. The above complained-of publications by all Defendants, and each of them, were
    18 made with hatred and ill will towards Plaintiff and with the design and intent to injure Plaintiff,
    19 Plaintiffls good name, his reputation, his employment, and/or his employability. Defendants, and
    20 each of them, published these statements, not with an intent to protect any interest intended to be
    21 protected by any privilege, but with negligence, recklessness, and/or an intent to injure Plaintiff I,
    22 and destroy his reputation. Therefore, no privilege existed to protect any of the Defendants from
    23 liability for any of these publications or republications.
    24          136. Plaintiff is informed, believes, and fears that these false and defamatory per se
    25 statements will continue to be published by Defendants, and each of them, and will be foreseeably
    26 republished by their recipients, all to the ongoing harm and injury to Plaintiffs professional and/or
    27 personal reputation. Plaintiff also seeks redress in this action for all foreseeable republications,
    28 including his own compelled self-publication of these defamatory statements.

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     1           137. As a proximate result of Defendants' conduct, Plaintiff has suffered and continues
     2 to suffer substantial losses in earnings and other employment and retirement benefits, all to his

     3    damage, in an amount according to proof.
     4           138. As a proximate result of Defendants' conduct, Plaintiff has suffered and continues
     5 I to suffer embarrassment, humiliation, and mental anguish, all to his damage, in an amount

     6 according to proof.

     7           139. The actions or inactions of these Defendants as alleged herein were carried out with
     8 malice, willfulness and/or reckless indifference to Plaintiffs rights, with full knowledge of their

     9 unlawfulness, and with the intent to deprive Plaintiff of rights guaranteed to him under the law.

    10 Plaintiff is entitled to punitive damages for the purpose of deterring such unlawful, malicious,
          oppressive and/or reckless conduct. Defendants' conduct described herein was engaged in by
    12 officers, directors, and/or managing agents for Employer Defendants and/or ratified by officers,
    13 directors, and/or managing agents.
    14                                     EIGHTH CAUSE OF ACTION                  -

    15                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

    16'                                (By Plaintiff Against All Defendants)

    17           140. Plaintiff incorporates by reference and re-alleges the allegations contained in,

    18 paragraphs 1 through 139, inclusive, as though fully set forth herein.
    19        141. Berina's acts alleged herein, including a physical assault on the workplace floor and

    20 subsequent efforts to prevent Mr. Garriott from earning a living in direct retaliation for complaining
    21 about the physical assault, were extreme and outrageous and done with the intent of causing Mr.
                                                                                                     suffer
    22 Garriott to suffer extreme emotional distress. Such conduct has indeed caused Mr. Garriott to
    23 severe mental anguish and emotional distress.
    24           142. Mattera's acts alleged herein, including her ongoing campaign to retaliate against

    25 Mr. Garriott and his wife despite numerous investigations proving her accusations against Plaintiff
    26 and his wife to be false, and in the face of multiple direct instructions to leave Mr. Garriott alone in
    27 particular, were extreme and outrageous and done with the intent of causing Plaintiff to suffer
                                                                                                        ~
    28 extreme emotional distress. Such conduct indeed caused Plaintiff to suffer severe mental anguish
                                                         -27-
                                  PLAINTIFF'S AMENDED COMPLAINT FOR DAMAGES
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                                             ID #:47




     1 I and emotional distress.

     2           143. Hoffstatter's acts alleged herein, including an ongoing campaign of harassing
     3    complaints, false CI investigations, and harassing conduct by Hoffstatter's subordinates, were
     4 extreme and outrageous and done with the intent of causing Plaintiff to suffer extreme emotional

     5    distress. Such conduct has indeed caused Plaintiff to suffer severe mental anguish and emotional
     6 distress.

     7           144. As a direct and proximate result of the actions of Berina, Mattera, Hoffstatter, and
     8 other employees of Employer Defendants, Plaintiff has suffered and will continue to suffer extreme

     9 and severe mental anguish and emotional distress, in an amount to be proven at trial.

    10           145. The actions or inactions of these Defendants as alleged herein were carried out with
    11 malice, willfulness and/or reckless indifference to PlaintifPs rights, with full knowledge of their
    12 unlawfulness, and with the intent to deprive Plaintiff of rights guaranteed to him under the law.
    13 Plaintiff is entitled to punitive damages for the purpose of deterring such unlawful, malicious,
    14 oppressive and/or reckless conduct. Defendants' conduct described herein was engaged in by
     15 officers, directors, and/or managing agents for Employer Defendants and/or ratified by officers,
     16 directors, and/or managing agents.
     17                                           PRAYER FOR RELIEF

     18          WHEREFORE, Plaintiff prays for judgment as follows:

     19      1. For an award of general damages in an amount to be proven at trial;

     20      2. For an award of special damages in an amount to be proven at trial, including past and

     21      future lost income and benefits and interest thereon;

     22      3. For an award of punitive damages in an amount appropriate to punish Defendants and to

     23      make an example of Defendants to the community;

     24      4. For pre-judgment interest at the prevailing legal rate;

     25      5. For declaratory and injunctive relief, including but not limited to an order requiring

     26      Defendants to immediately comply with all local, State, and federal laws, rules, and/or

     27      regulations regarding retaliation against employees for engaging in protected whistleblowing

     28      activities;

                                                          - 28 -
                                   PLAINTIFF'S AMENDED COMPLAINT FOR DAMAGES
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         1     6.   For reasonable attorney's fees and costs; and
         2     7.   For such other and further relief as this Court deems just and proper.
         3                                     DEMAND FOR JURY TRIAL

         4          Plaintiff hereby requests a jury trial on the claims so triable.
         5    Dated: April 30, 2024                            SANSANOWICZ LAW GROUP, P.C.
                                                               M LAW ATTORNEYS, APC
         6                                                                      ]      a
                                                                                                --,
         7                                                By
                                                               Leonard H. Sansanowicz, Esq.
          8                                                    Narak Mirzae, Esq.
          9                                                    Attomeys for Plaintiff Craig M Garriott

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                                                               - 29 -
                                       PLAINTIFF'S AMENDED COMPLAINT FOR DAMAGES
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             EXHIBIT A
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                                        TOLLING AGREEMENT.

            This Tolling Agreement ("Agreement") is made and entered into as of October 5, 2023
     ("Effective Date"), by and between Craig Garriott and Kathy Garriott (collectively, "Plaintiffs")
     and The Boeing Company ("Boeing"), Millennium Space Systems, Inc., Jennifer Burina, Nina
     Matera, and Calinda Starr (collectively, "Defendants").

             WHEREAS, a dispute has arisen between Plaintiffs and Defendants;

             WHEREAS, Plaintiffs forwarded correspondence to Defendant Boeing about the dispute,
     including draft complaints to be filed by Craig Garriott and Kathy Garriott should the parties not
     agree to resolve their disputes informally, and Boeing received such correspondence on April 14,
     2023;

             WHEREAS, Plaintiffs and Defendants have been involved in discussions and negotiations
     to potentially resolve the dispute without the necessity and expense of litigation;

             WHEREAS, the discussions between Plaintiffs and Defendants will not be concluded
     before the expiration of the statute of limitations of at least some of Plaintiffs' rights;

          WHEREAS, the Parties have now agreed to private mediation, which will take place on
     November 16, 2023, or a date shortly therea$er (pending the mediator's availability);

            WHEREAS, the Parties wish to allow sufficient time for the mediation and any post-
     mediation discussions and/or negotiations to take place before Plaintiffs file their civil actions;

             WHEREAS, by entering into this Agreement, Defendants do not intend to resurrect any
     claims that are time-barred prior to the Effective Date of this Agreement.

             THEREFORE, Plaintiffs and Defendant agree by and through their counsel to toll any
     applicable statute of limitations from the Effective Date of this Agreement until sixty (60) days
     after the mediation (the "Tolling Period"), to allow the Parties to continue discussions and
     negotiations and possibly resolve the dispute before Plaintiffs file civil lawsuits. The terms and
     conditions of the Agreement are as follows:

             1.Scope of Agreement/No Admission of Liability. This Agreement operates to toll any
     and all statutes of limitations and time constraints imposed by law on Plaintiffs' claims during the
     Tolling Period. This Agreement shall not be construed as an admission of liability or be offered
     in evidence in any proceeding other than to prove that any applicable statute of limitations were
     tolled during the Tolling Period.
             2. Tolling Period. This Agreement shall be in effect from the "Effective Date" through
     and including the sixtieth (60th) day after mediation (the "Tolling Period"), all applicable statutes
     of limitations that were viable as of the commencement of the Tolling Period shall be tolled and
     suspended.
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                                             ID #:51




             3. Waiver During Tolling Period. Defendants hereby waive any applicable statute of
     limitations defenses that would otherwise arise during the Tolling Period. Defendants do not
     waive any statute of limitations defense, or any other claims or defenses available prior to the
     Tolling Period or after the Tolling Period expires.
             4. Action Initiated During Tolling Period. During the Tolling Period, Plaintiffs may
     file complaints or initiate any other legal proceeding against Defendants relating to Plaintiffs'
     employment.
             5. Termination Before Expiration Date. Defendants may terminate this Agreement at
     any time by providing a notice of intent to terminate in writing, sent via email and via overnight
     delivery service to Plaintiffs' counsel. The termination date shall be 30 days from the date of the
     notice of intent.
            6. Substantive Law. This Agreement shall be interpreted in accordance with the
     substantive law of the State of Califomia, without application of choice of law rules.
             7.Copies of Tolling Agreement Valid. This Agreement may be executed in one or more
     original or counterparts. A signed document transmitted via facsimile or email shall be valid.



     Dated:    October 9, 2023                     SANSANOWICZ LAW GROUP, P.C.
                                                   M LAW ATTORNEYS, APC



                                                   Leonard H. Sansanowicz, Esq.
                                                   Narak Mirzaie, Esq.
                                                   Attomeys for Plaintiffs Craig and Kathy Garriott


     Dated: October 9, 2023                        OGLETREE DEAKINS




                                                   Betsy Johnson, Esq.
                                                   Catherine L. Hazany, Esq.
                                                   Tara Mohseni, Esq.
                                                   Attorneys for Defendants The Boeing Company,
                                                   Millennium Space Systems, Inc., Jennifer Burina,
                                                   Nina Matera, and Calinda Starr
Case 2:24-cv-04735-DMG-MAR                                             Document 1-1                   Filed 06/05/24                Page 39 of 101 Page
                                                                            ID #:52


                                                                                                                                                                          CM-010
      ORNEY     Ph    Y WITHOUT TTO       EY (Name, State Barnumber, and address):                                                      FOR COURTUSE ONLY
Ai   Leonar~H, ~ansanow~z,. ~sd. SBN:             255729
     SANSANOWICZ LAW GROUP, P.C.
     21031 Ventura Boulevard, Suite 701, Woodlatid Hills, CA 91364                                                           Electronically FILED by
TL3EPHoÑENo.: ,(818) 639-8510                                  FAXNO. (818) 639-851,1
                                                                                                                             Superior Court of Californla,
EMAtLAooREss: leonard @law-slg.com                                                                                           County of Los Anyeles
ArroRNEY FOR (Name): PLAINTIFF CRAIG M GARRIOTT                                                                               4111/2024 8f56. AM
                                                                                                                              David W. Slayton,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                           Executive Off•Icer/Clerk of Court,
 SiREETADDRESS 11 I           North Hill Street
                                                                                                                             By S. Bolden, Deputy Clerk
 MAILING ADDRESS: I I I       North     Hill   Street
crrvANDziPCODE:Los Angeles CA 90012
      BRANCH NAME:      Stanley Mosk

CASE NAME:
     Craig Garriott v. The Boeing• Cortipany et al.
                                                                                                                         CASENUMBER:
        CIVIL CASE COVER SHEET                      l                      Complex Case Designation
[}~        Unlimited                0     Limited                      0      Counter          lj       Joinder           24STCV09031
           (Amount                        (Amount
                                                                  Filed with first a ppearance by defendant        Bruce G. Iwasaki
           demanded                        demanded is                (Cal. Rules of Court, rule 3.402)     r lE~T: 58
           exceeds $35,000)               $35,000 or less)

 1. Check one box below for the case type that best describes this case:
    Auto Tort                                 Contract                                                             Provisionally Complex Civii Litigation
            Auto (22)                                            Ej]        Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
      lj
                                                                            Rule 3.740 collections (09)            lj     Antitrust/Trade regulation (03)
      0     Uninsured motorist (46)                              lj
      Other PIIPDIWD (Personal Injury/Property                                                                     lj       Construction defect (10)
                                                                  lj        Other collections (09)
      Damage/Wrongful Death) Tort                                           Insurance coverage (18)                ~        Mass tort (40)
      []      Asbestos (04)                                       lj        Other contract (37)                    lj       SecurRies litigation (28)
      0       Product liability (24)                                                                               lj    Environmental/Toxic tort (30)
                                                        Real Property
      Jjjjjjjj] Medical malpractice (45)                                                                           lj'   Insurance coverage claims arising from the
                                                               Eminent domain/Inverse                                    above listed provisionally complex case
      lj        Other PI/PD/WD (23)                           condemnation (14)
                                                                                                                         tYPes (41)
      Non-PI/PD/WD (Other) Tort                         IITI Wrongful eviction (33)                                Enforcement of Judgment
            Business tortlunfair business practice (07) 0     Other real property (26)                             lj    Enforcement of judgment (20)
      O     Civil rights (08)                           Unlawful Detainer                                          Miscellaneous Civil Complaint
      Q       Defamation (13)                                     lj        Commercial (31)
                                                                                                                            RICO (27)
                                                                  Q         Residential (32)                       ~              ( )
      ~rau            (16)                                                                                         0        Other complaint (not specified above) (42)
      0       inteilectual property (19)                          Q     Drugs (38)
                                                                                                                   Miscellaneous Civil Petition
      0       Professional negligence (25)                        Judicial Review
                                                                                                                             Partnership and corporate governance (21)
                                                                  E]        Asset forfeiture (05)
      lj   Other non-PIIPDIWD tort (35)
                                                                  Q         Petition re: arbitration award (11)    Q        Other petition (notspecified above) (43)
      Employment
           Wrongful termination (36)                              Q         Writ of mandate (02)
      lj
       ®      Other employment (15)                               0         Otherjudicial review (39)

2.      This case lj      is      ®     is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
        factors requiring exceptional    judicial management
                                                                        d. 0      Large number of witnesses
       a. lj     Large number of separately represented parties
                                                                        e. ' lj   Coordination with related actions pending in one or more
       b. 0      Extensive motion practice raising difficult or novel
                                                                                  courts in other counties, states, or countries, or in a federal
                 issues that vvill be time-consuming to resolve
                                                                                  court
       c. 0      Substantial amount of documentary evidence             f. 0      Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. ®                            monetary b. ®            nonmonetary; declaratory or injunctive relief c. ®                     punitive
4. Number of causes of action (specffy): Eight (8)
5. This case lj      is   jjjjjj is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: April 10, 2024
     Leonard H. Sansanowicz, Esq.
                                                                                     NOTICE
 •  Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to rile may result in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
   the action or proceeding.
 • Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Pa9e 1 or 2
      Adonted fnr Mandatnry I lce                                                                                             Cal RulesnFCnnrt ndea93n 39?n 3dn0--3_403.3.740:
                                                                       V I Y IL Vf1V G V V Y LI\ V f 7 L G 1                         Cal, Standards of Judicial Administration, std. 3.10
Judicial Couneil of Califomia
CM-010 [Rev. January 1, 2024]                                                                                                                                      vrr.'vi.courts ca gov
Case 2:24-cv-04735-DMG-MAR                            Document 1-1                    Filed 06/05/24          Page 40 of 101 Page
                                                           ID #:53


                                                                                                                                  CIVI-010
                          INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Piaintrffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
                                                                                                                             to
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used compile
                                                                                                                          must check
statistics about the types and numbers of cases filed, You must complete items 1 through 6 on the sheet. In item 1, you
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
                                                                                                                                            action.
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of
                                                                                                                              cover
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A
                                                                                                                                   subject a party,
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
                                                                                                                                              owed
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
in a sum stated  to be certain that  is not more than  $25, 000, exclusive  of interest and attorney's fees,  arising from a transaction  in which
                                                                                                                                        tort
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1)
damages,   (2) punitive damages,    (3) recovery  of real property, (4) recovery  of personal property,  or (5) a prejudgment   writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subjectto the requirements for service and obtaining a judgment in rule 3.740.
                                                                                                                                             the
To Parties in Complex Cases. In complex cases only, parties.must also use the Civil Case Cover Sheet to designate whether
                                                                                                                                       by
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated
                                                                                                                                        the
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with
                                                    may file and  serve no later than the time of its first appearance a joinder in the
complaint on all parties to the action. A defendant
                                                                                                                                                   that
plaintiffs designation, a counter-designation that the case is not compiex, or, if the plaintiff has made no designation, a designation
the case is complex.                                     CASE-TYPES AND EXAMPLES
                                               Contract "                                          Provisionally Complex Civil Litigation (Cal.
  Auto Tort                                       t3reach ofContracWVarranty (06)
     Auto (22}-Personal Injury/Property                                                            Rutes' of~CourtRules 3.400-3.403)
                                                       Breach of RentallLease                          AntitrustlTrade Regulation (03)
          Damage/Wrongful Death                            Contract (nofunlav✓ful.detainer
       Urnnsured Mot"orlsi (46) (!f the                                                                 Constructlon, Defect (10)
                                                              or wronglul euictlon)                      Claims Involying Mass Tort'(40)
      case involvos•an uninsured
                                                      Contract/Warranty. Breach-Selien                   Secuntles Lttigatiori (28)
      motorist Galm subject t.o                            Plaintiff,(notfraud ortiegligence)
       ar6rtratfort, check_thrsiferri                                                                    EnvironmentaUToxicTort (30)
                                                       Negligent Breaoh of Conir'actd                   Insurance Coverage Ctaims
      instead ofAuto)                                      Warranty
 Other PIIPDIWD (t'ersonal Injury/                                                                           (ansing from proNslonally complex
                                                       Other B~each of ContracUWar~anty                      case typa !lsted above) ,(4f)
 Property Damage/Wrongfui D'eatti) Tort            Collections (e.g., money owed, open.
    Asbestos (04)                                                                                  Eniorcement of Judgment
       Asbestos Property Damage                       book accounts),•(O9)                           Enforoement of Judgment (20)
                                                                    asSll
                                                        oecon Ce—eerPl
                                                       Cllti                      ai n tiff               Abstraot ofJudgment (Out oi-County)
                  Personal InJuryl                                 i
                                                       Oth er Pro mssory. NotelCollections.Case
              Wrongful Death                                                                           Confession of Judgment,(,non-domestic
                                                   lnsurance Coverage .(not provisforraily                relations)-
      Product Liability (nof asbesfos,or               complex)'(18)
         tpxic%nvlronmental) (24)                                                                     Sister State Judgment
                                                       Auto 5ubrogafion                               Administrative Agency Award
      Medical Maipractice (45)'
                                                       0ther Coverage                                     (not unpaid taxes)
          Medlcal Malpractice—                            onrac (37)
                                                  Other Ctt
              Physicians                                                                               Petition/Certification of Entry of
                                                          t       F
                                                       Conractual•raud                                     Judgment on Unpaid Taxes
      Other Professiona) Health Care
                                                      Other Contract•Dispute                           Other Enforcement of Judgment Case
            Malpractice
                                                Real Property                                       Miscellaneous Civil Complaint
     '0ther PIlPDJWD_(23)                         Eminerqt.Domainilnverse                              RICO (27)
          Premises Liability (e.g., siip               Condemnation (14)                               Other Complaint (notspecified above) (42)
              and.fail)
                                                   Wrongiul Eviation (33)                                   Declaratory Reliei Only
          Intentional Bodlly Injury/PDNVD.         Other Real Property;(e:g., q uiet title) (26)
                 (e.g., assault, vaniialism)                                                                In_junctive Relief Only (non-
                                                       Writ of Possession of Real Property                     tiarassme»t)
         Intentional.lnfliation of
                                                       Mortgage Foreclosure                                Mechanics Lien
              Emotional Disti•ess
                                                       Quiet Tdle                                          OtherCommetcial Complaint'
         Negllgent Inilictiori of
               Emot{onal Distress.                     Other Real Property (not eminent                        Case (non-tor!%non-complex)
                                                       domain, landiord/lenant, or                          Other CiVfl Coritplalnt
         0ther PI/PDNUp
                                                       foreolosure)                                            (non-tor₹/non-complex)
 Non-PI1PDlWD (Other) Tort
                                                Unlawlul Detainer                                   Miscellaneous Civil Petition
     Business.TortlUrifair BuSiness
                                                   Commercial (31.)                                    Partnership and Corporate
        Practice (07)
                                                   Residential (32)                                        Governance (21)
    .Civil Rights,(e:g.,.disorimination,
                                                   Drugs.(38)'(rf the case involVes illegal            Other Petitiori (not'specified above) (43)
          false arrest)"(not=civU
                                                   drugs check this item; ofhenvise,                       ClVil 1larassment
            harassment) (08)                       report as CommefciaFor Residential)
    Defamation (e g., stander; libel) (13)                                                                 Workplace Violence
                                                Judicial Review                                            Elder/Dependent Adult Abuse
   ,Fraud (16)
                                                             f it
                                                   Asset Foreure     (05)                                  Election Contest
    Intellectual Property,(19)                                                     11
                                                      titi Re: ArbitYation Award ()
                                                   Peon                                                    Petition for Name Change
    Professional Neg1{gance. (25)
        Legal Malpractice
                                                   WridtofiManate (.02).                                   Petition for Relief From Late Claim
                                                        WritAdministrative Mandamus                        Other Civil Petition
        Qther Frofessional Malpractice ,
                                                       'Wdt—Mandamus on Limited Court
            (not medical orl'egal)
                                                           Case Matter
    0therNon-PIIPD/WD Tort (35)
                                                        Writ.0ther Limitecf Court Case Review
 Employment
                                                   Other Judicial Review (39)
    Wrongful Terminetion (36)
                                                        Review oíHea{th Officer Order
    0ther-Employment (15)                                                                                                      -
                                                        Notice of Appeal-Labor Commissioner
                                                                                                                                               Pa9e 2 of 2
CM-010 [Rev. January 1, 2024]                             CIVIL CASE COVER SHEET
                                                                                                                               Westlaw Doc & Form 6uilder•
Case 2:24-cv-04735-DMG-MAR                                        Document 1-1                Filed 06/05/24                     Page 41 of 101 Page
                                                                       ID #:54


                                                                                                                        CASE NUMBER
 SHORTTITLE
 ~Craig M. Garriott v. The Boemg Com any et al.

                        CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                  (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

          This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

                                                                                                   case type in
Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
                                                                                                                                                       have chosen.
Step 3: In Column C, circle the number which explains the reason for the court filing location you



                                     Applicable Reasons for Choosing Courthouse Location (Column C)

 1.       Class Actions must be filed In the Stanley Mosk Courthouse, Central District.        7.       Location where petitioner resides,


 2.       Permissive filing in Central District.                                               S.       Location wherein defendant/respondent functions wholly.


 3.       Location where cause of action arose.                                                9.       Location where one or more of the parties reside.

                                                                                               10.      Location of Labor Commissioner Office.
 4.       Location where bodily injury, death or damage occurred. '

          Location where performance required, or defendant resides.                           11.      Mandatoryfiling location (Hub Cases — unlawful detainer, limited
 5.
                                                                                                        non-collection, limfted collection).
 6.       Location of property or permanently garaged vehicle.




                                      A                                                             B                                                         C

                           Civil Case Cover                                                Type of Action                                              Applicable
                           Sheet Case Type                                                (check only one)                                            Reasons (see
                                                                                                                                                      Step 3 above)
                                 Auto (22)             El 2201 Motor Vehicle — Personal Injury/Property Damage/Wrongful                                      1, 4
      o                                                Death

      2                   Uninsured Motorist           ❑ 4601 Uninsured Motorist— Personal Injury/Property                                                   1, 4
      Q                          (46)                  Damage/Wrongful Death

                             Other Personal            ❑ 2301Premise Liability (e.g., dangerous conditions of property,                                      1, 4
                            Injury/ Property           slip/trip and fall, dog attack, etc.)
           t               Damage/ Wrongful
                                                       ❑ 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                       1, 4
      a                        Death (23)
                                                       (e.g., assault, battery, vandalism, etc.)
                                                                                                                                                             1, 4
      e o                                              ❑    2303 Intentional Infliction of Emotional Distress
      — ~
                                                                                                                                                             1, 4
      o~                                               ❑ 2304 Other Personal Injury/Property Damage/Wrongful Death
      ~ m
                                                       ❑ 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                     1, 4
                                                       Facility
      .
                                                        ❑   2306 Intentional Conduct— Sexual Abuse Case (in any form)                                        1, 4




LASC CIV 109 Rev. 01/23                               CIVIL CASE COVER SHEET ADDENDUM                                                            LASC Local Rule 2.3

For Mandatory Use                                           AND STATEMENT OF LOCATION
Case 2:24-cv-04735-DMG-MAR                             Document 1-1             Filed 06/05/24           Page 42 of 101 Page
                                                            ID #:55


                                                                                                 CASE NUMBER
 SH0RTTITLE ,
   Craig ili1. Garriott v. The Boeirg Cõmp.any et al.
          M



                              A                                                   B                                          C

                      Civil Case Cover                                      Type of Action                             Applicable
                      Sheet Case Type                                      (check only one)                           Reasons (see
                                                                                                                      Step 3 above)
                                              ❑   2307 Construction Accidents                                               1, 4

                                              ❑   2308 Landlord—Tenant Habitability (e.g., bed bugs, mold, etc.)            1, 4

                     Product Liability (24)                                                                                 1, 4
                                              ❑   2401 Product Liability (not asbestos or toxic/ environmental)
   ~-.
                                                                                                                          1, 3, 5
             o                                ❑ 2402 Product Liability — Song-Beverly Consumer Warranty Act (CA
   o p~                                       Civil Code §§1790-1795.8) (Lemon Law)

                     Medical Malpractice      ❑   4501 Medical Malpractice — Physicians & Surgeons                          1,
   a Q o
                            (45)
  ra a                                        ❑   4502 Other Professional Health Care Malpractice
                                                                                                                            1,4

                      Business Tort (07)      ❑ 0701 OtherCommercial/BusinessTort (notfraud or breach of                  1, 2, 3
             w                                contract)
                                              ❑   0801 Civil Rights/Discrimination                                        1, 2, 3
   m t= ~              Civil Rights (08)
   .c c. c             Defamation (13)        ❑ 1301Defamation (slander/libel)                                            1, 2, 3
   L    O.       i
   n, ~E         °        Fraud (16)          ❑   1601 Fraud (no contract)                                                 1, 2, 3

   ~ 3_ ~                Professional         ❑   2501 Legal Malpractice                                                   1, 2, 3
        =               Negligence (25)       p 2502 Other Professional Malpractice (not medical or legal)                1, 2, 3
             E
             O            Other (35)          ❑ 3501 Other Non-Personal Injury/Property Damage Tort                        1, 2, 3

                          Wrongful            ❑   3601 Wrongful Termination                                                1, 2, 3
   w~                  Termination (36)
   E                  Other Employment        ® 1501 Other Employment Complaint Case                                       1, 2, 3
   Q                         (15)
                                                                                                                             10
   £                                          ❑ 1502 Labor Commissioner Appeals

                     Breach of Contract/      ❑ 0601 Breach of Rental/Lease Contract (not unlawful detainer or              2, 5
                        Warranty (06)         wrongful eviction)
                       (not insurance)                                                                                      2, 5
                                              ❑ 0602 Contract/Warranty Breach — Seller Plaintiff (no
                                              fraud/negligence)
                                              ❑   0603 Negligent Breach of Contract/Warranty (no fraud)                    1, 2, 5

                                              ❑   0604 Other Breach of Contract/Warranty (no fraud/ negligence)            1, 2, 5
   .~
   u                                          ❑   0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)               2, 5
   -
   o                    Collections (09)      ❑   0901 Collections Case—Seller Plaintiff                                  5, 6, 11
   u
                                              ❑ 0902 Other Promissory Note/Collections Case                                 5, 11

                                              ❑ 0903 Collections Case — Purchased Debt (charged off consumer debt         5, 6, 11
                                              purchased on or after January 1, 2014)
                                              ❑ 0904 Collections Case — COVID-19 Rental Debt                                5,11

                      Insurance Coverage      ❑ 1801 Insurance Coverage (not complex)                                     1, 2, 5, 8
                             (18)


LASC CIV 109 Rev. 01/23                       CIVIL CASE COVER SHEET ADDENDUM                                      LASC Local Rule 2.3
For Mandatory Use                               AND STATEMENT OF LOCATION
Case 2:24-cv-04735-DMG-MAR                   Document 1-1            Filed 06/05/24        Page 43 of 101 Page
                                                  ID #:56


                                                                                    CASE NUMBER
 SHORT TfTLE
   Craig M. Garriott v. The Boeina, Compan... et al.

                       A                                               B                                       C

                Civil Case Cover                                 Type ofAction                           Applicable
                Sheet Case Type                                 (check only one)                        Reasons (see
                                                                                                        Step 3 above)
               Other Contract (37)   ❑ 3701 Contractual Fraud                                             1, 2, 3, 5
                                     ❑ 3702 Tortious Interference                                          1, 2, 3, 5
   .. .-
   a o                               ❑ 3703 Other Contract Dispute (not breach/insurance/fraud/           1, 2, 3, 8, 9
   uu                                negligence)
               Eminent Domain/       ❑   1401 Eminent Domain/Condemnation                                     2, 6
                   Inverse                                                 Number of Parcels
   '           Condemnation (14)
   d           Wrongful Eviction     ❑ 3301 Wrongful Eviction Case                                            2, 6
   o                  (33)
                   Other Real        ❑   2601 Mortgage Foreclosure                                            2, 6
                  Property (26)      ❑   2602 QuietTitle                                                      2, 6

                                     ❑ 2603 Other Real Property (not eminent domain,                          2, 6
                                     landiord/tenant, foreclosure)
               Unlawful Detainer     ❑ 3101 Unlawful Detainer—Commercial (notdrugs orwrongful                6, 11
               — Commercial (31)     eviction)
   =           Unlawful Detainer     ❑ 3201 Unlawful Detainer — Residential (not drugs or wrongful           6, 11
   ~
   o            — Residential (32)   eviction)
               Unlawful Detainer     ❑   3401 Unlawful Detainer— Post Foreclosure                           2, 6, 11
               — Post Foreclosure
   ~                  (34)
               Unlawful Detainer     ❑   3801 Unlawful Detainer— Drugs                                      2, 6, 11
                  — Drugs (38)
                Asset Forfeiture     ❑   0501 Asset Forfeiture Case                                          2, 3, 6
                      (05)
                  Petition re        ❑ 1101 Petition to Compel/Confirm/Vacate Arbitration                     2, 5
                Arbitration (11)
   ~            Writ of Mandate      ❑   0201 Writ—Administrative Mandamus                                    2, 8
   ~                  (02)           ❑ 0202 Writ — Mandamus on Limited Court Case Matter                        2

    °                                ❑   0203 Writ — Other Limited Court Case Review                            2

                  Other Judicial                                                                               2, 8
                                     ❑   3901 Other Writ/Judicial Review
                  Review (39)
                                                                                                              Z, 8
                                     ❑   3902 Administrative Hearing
                                                                                                               2, 8
                                     ❑   3903 Parking Appeal

       >         Antitrust/Trade     ❑ 0301 Antitrust/Trade Regulation                                       1, 2, 8
           o     Regulation (03)
                  Asbestos (04)                                                                               1, 11
                                     ❑   0401 Asbestos Property Damage
                                                                                                              1,11
   ~ u~                              ❑ 0402 Asbestos Personal Injury/Wrongful Death



LASC CIV 109 Rev. 01/23              CIVIL CASE COVER SHEET ADDENDUM                                 LASC Local Rule 2.3

For Mandatory Use                      AND STATEMENT OF LOCATION
Case 2:24-cv-04735-DMG-MAR                    Document 1-1          Filed 06/05/24        Page 44 of 101 Page
                                                   ID #:57


 SHO TTI,TL                                                                         CASE NUMBER
   ~raigEM. Garriott v. The Boeing Company et al.


                       A                                                 B                                       C
               Civil Case Cover                                 Type ofAction                               Applicable
               Sheet Case Type                                 (check only one)                            Reasons (see
                                                                                                           Step 3 above)
                Construction          ❑ 1001Construction Defect                                               1, 2, 3
                 Defect (10)
  x
  °1           Claims Involving       D 4001 Claims Involving Mass Tort                                        1, 2, 8
  a
   E            Mass Tort (40)
   8          Securities Litigation   ❑   2801Securities Litigation Case                                       1, 2, 8
                      (28)
   o              ToxicTort           ❑   3001ToxicTort/Environmental                                        1, 2, 3, 8
   ,          Environmental (30)
   °          Insurance Coverage      ❑ 4101 Insurance Coverage/Subrogation (complex case only)              1, 2, 5, 8
                Claims from
              Complex Case (41)
               Enforcement of                                                                                 2, 5, 11
                                      ❑   2001Sister State J udgment
  o            Judgment (20)
                                                                                                                2, 6
                                      ❑   2002 Abstract of Judgment
     "
   ccJu
                                      ❑ 2004 Administrative Agency Award (not unpaid taxes)                     2, 8
   u ~
                                                                                                                2, 8
                                      ❑   2005 Petition/Certificate for Entry of Judgment Unpaid Tax
   W
                                                                                                               2, 8, 9
                                      ❑   2006 Other Enforcement of Judgment Case
                    RICO (27)         ❑   2701Racketeering (RICO) Case                                         1, 2, 8
   >
   u~,         Other Complaints       ❑   4201 Declaratory Relief Only                                         1, 2, 8
                (not specified        ❑   4202 Injunctive Relief Only (not domestic/harassment)                 2, 8
   o~
                 above) (42)
  !~ o                                ❑ 4203 Other Commercial Complaint Case (non-                             1, 2, 8
   N U                                tort/noncomplex)
                                      ❑ 4204 Other Civil Complaint (non-tort/non-complex)                      1, 2, 8

                 Partnership          ❑   2101Partnership and Corporation Governance Case                       2, 8
                 Corporation
   o           Governance (21)
               Other Petitions        ❑   4301Civil Harassment with Damages                                    2, 3, 9
   °            (not specified            4302 Workplace Harassment with Damages                               2, 3, 9
                                      ❑
                 above) (43)
   ~                                  ❑   4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
   ~
   °a~                                ❑    4304 Election Contest                                                  2

                                      ❑ 4305 Petition for Change'of Name/Change of Gender                       2, 7
                                      ❑   4306 Petition for Relief from Late Claim Law                         2, 3, 8

                                      ❑ 4307 Other Civil Petition                                               2, 9




LASC CIV 109 Rev. 01/23               CIVIL CASE COVER SHEET ADDENDUM                                  LASC Local Rule 2.3

For Mandatory Use                         AND STATEMENT OF LOCATION
Case 2:24-cv-04735-DMG-MAR                 Document 1-1         Filed 06/05/24        Page 45 of 101 Page
                                                ID #:58


 SHORT TITLE                                                                    CASE NUMBER
   Craig M. Garriott v. The Boeing Company et al.

Step 4: Statement of Reason and Address: Checkthe appropriate boxes forthe numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

 REASON:                                                        ADDRESS:
 ❑ 1.XI2.®3. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9.C10. ❑ 11              1950 E. Imperial Highway

 CITY:                           STATE:          ZIP CODE:
  El Segundo                      CA              90245

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central
District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)]

Dated: April 10, 2024
                                                                        (SIGNATURE OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE F1LED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
    3. Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (01/23).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
       petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
         case.




LASC CIV 109 Rev. 01/23            CIVIL CASE COVER SHEET ADDENDUM                               LASC Local Rule 2.3
For Mandatory Use                    AND STATEMENT OF LOCATION
Case 2:24-cv-04735-DMG-MAR                         Document 1-1               Filed 06/05/24              Page 46 of 101 Page
                                                        ID #:59

                                                                                                        ~~n'odforCleM'sFkS6vnp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES                                                                           FILED
                                                                                                      Suaefior CDllrl of i 9l11•7fnIF1
 COURTHOUSEADDRESS:
                                                                                                        Ca:,nfyot LosAna=lo=
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012                                                              04111/'2024
 PLAINTIFF:                                                                                   ;:r.:4 •t ]L31          'r''._'~':
 Craig, M Garriott
 DEFENDANT:                                                                                                      _R L'ut..._,
 The Boeing Company, et al.
                                                                                               CASE          .

              NOTICE OF CASE MANAGEMENT CONFERENCE                                             24STCV09031
 rO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attomeys of record forthwith, and meet and confer with all
partieslattorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.

Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                       Date: 09/26/2024          Time: 8:30 AM            oept: 58


 NOTICE TO DEFENDANT:             THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                      DEFENDANT FROM FILING A RESPONSIVE PLEADINGAS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attomeys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

 At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
 establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
 case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

 Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
 Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
 sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
 Court, rule 2.2 et seq.                                     ~~~;;~;►,I;, ;~
                                                                     ~ '~ti~:•t~. '~'.l

 Dated: 04/11/2024                                                  "t=~^
                                                                     „    ~         +~
                                                                                    °
                                                                    ,..
                                                                                     Judicial Officer
                                                      CERTIFICATE OF SERVICE

 I, the below named Executive OfFicerlClerk of Court of the above-entitled court, do hereby certify that I am not a party to the
 cause herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

 ['   by depositing in the United States mail at the courthouse in Los Angeles               , California, one copy of the original
      filed herein in a separate sealed envelope to each address as shown belowwith the postage thereon fully prepaid,

 ❑    by personally giving the party notice upon filing of the complaint.
      Leonard H. Sansanowicz
      21031 Ventura Boulevard Suite 701
      Woodland Hills, CA 91364                                              David W. Slayton, Executive Officer / Clerk of Court

                                                                            By R. Lee
 Dated: 04/11/2024
                                                                                           Deputy Clerk

 LASC LACIV 132 Rev. 01/23
                                                NOTICE OF                                                         Cai. Rules of Court, rules 3.720-3.730
 For Optional Use                      CASE MANAGEMENT C ONFERENCE                                                (.ASCLocalRules•Chapter7KUHH
Case 2:24-cv-04735-DMG-MAR                Document 1-1        Filed 06/05/24           Page 47 of 101 Page
                                               ID #:60


                                                                                      ReservedforClerk'sFileStamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                      • FILED
                                                                                           br a".OJrl Of i.a,hfurrua
  Stanley Mosk Courthouse                                                                Countjof LosAnct'os
  111 North Hill Street, Los Angeles, CA 90012                                               04/11?'2024
                                                                               ~ :.:i" %: .:,• _.:,:~:.:•   :<. ; c..... -0
  PLAINTIFFIPETITIONER:                                                                           R. Lo.,         L,:_ :y
                                                                                  ;
  Craig M Garriott
  D E FENDANT/ZES f'ON DEfVT:
  The Boeing Company, et al.

                                                                              CASE NUMBER:
                           CERTIFICATE OF MAILING                             24STCV09031

  I, the beiow-named Executive O.fficer!Clerk of the •above-entitied court, do hereby certify that I am not ofa
  party to the cause hereiri, and that on this date I served the Order to Show Cause Failure to File Proof as
  Service upon each party or counsel named below by.piacing thedocument for collection and maiiing so
  to cause it t'o be deposited in the United States mall at the courthouse in Los_Angeles, California, one copy
  of the original fiiedlentered herein in a separate seaied envelope to each address as shown below with the
  postage thereon fuliy:prepaid, in accordance with standard court practices.



      Leonard H. Sansanowicz                                     Narak Mirzaie
      21031 Ventura Boulevard Suite 701    ✓                     M Law Attomeys, APC
      Woodland Hills, CA 91364                                   P.O. Box 60091
                                                                 Pasadena, CA 91102




                                                       David W. Slayton, Executive Officer / Clerk of Court

   Dated: 04/11/2024                                    By:   R. Lee
                                                              Deputy Clerk




                                          CERTIFICATE OF MAILING
Case 2:24-cv-04735-DMG-MAR                        Document 1-1           Filed 06/05/24           Page 48 of 101 Page
                                                       ID #:61

                                                                                               Reserved for Clark's Fle Sfamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:                                                                                     FILED
Stanley Mosk Courthouse                                                                        S rior Oaua of Ceutorra
                                                                                                     YafLasangel9s
111 North Hill Street, Los Angeles, CA 90012
                                                                                                     04/10/2024
                   NOTICE OF CASE ASSIGNMENT                                           oe~aw.se~n,E~lr~afo~rr c~ofc4,n
                                                                                          gy           Y. Tarasytls             peiy
                          UNLIMITED CIVIL CASE

                                                                                CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 24STCV09031

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED .IUDGE              DEPT      ROOM                   ASSIGNED JUDGE                    DEPT             ROOM

   ,/    Bruce G. Iwasaki                   58




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 04/10/2024                                                        By Y. Tarasyuk                                         , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:24-cv-04735-DMG-MAR                           Document 1-1              Filed 06/05/24            Page 49 of 101 Page
                                                          ID #:62


                                   INSTRUCTIONS FOR HANDLING UNLIMITED.CIVIL CASES

                                                                                                                               are summarized
The following critical provisions of the Ca]ifomia Rules of Court, Title 3, Division 7, as applicable in the Superior Court,
for your assistance.
APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.
•PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.
CHALLENGE TO ASSIGNED JUDGE
A cltallenge under•Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to ajudge, or if a party has not yet appeared, within 15 days of the first appearance.

TIMESTANDARDS
Cases assigned to.the independent Calendaring Courts will be subject to processing under the following time standards:
COMPLAINTS
All complaints:shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
                                                                                                                             Cross-
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
                                                                                                                                    AIl
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date.
parties shall have motions in limine, bifurcation   motions, statements  of  major  evidentiary issues, dispositive motions, requested
                                                                                                                                 These
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference.
matters may be heard and resolved at this conference. At least five days    before this conference, counsel must  also have exchanged
                                                                                                                               required
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as
by Chapter Three of the Los Angeles Superior Court Rules.

 SANCTIONS
                                                                                                                      made by the
'The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders
 Court, and  time standards or  deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
 or if appropriate, on counsel for a party.
                                                                                                                        is
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions
                guarantee  against  the imposition of sanctions under Trial Court Delay Reduction.   Careful reading and
therefore not a
compliance with the actual Chapter Rules is imperative.

Class Actions
                                                                                                                           complex
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

%Provisionally Complex Cases
                                                                                                                    determination of
Cases , filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for
                                                                             of  Califomia  Rules  of Court 3.400  et seq., it will be
complex status. If the case is deemed to be complex within the meaning
randomly assigned to a complex    judge at the  designated complex   courthouse.  If the case is found not to be complex,   it will be
retumed to an Independent Calendar Courtroom for all purposes.




 LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
 LASC Approved 05/06
Case 2:24-cv-04735-DMG-MAR                    Document 1-1           Filed 06/05/24          Page 50 of 101 Page
                                                   ID #:63



               -,
    `          G         Superior Court of California, County of Los Angeles
                                                                       g



                             ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                    INFORMATION PACKAGE
  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
  cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
                                                                                                                     may
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantages of ADR
   •   Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   o. Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantaees of ADR
    •  Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •  No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main:Tyaes of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settiement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  •    want to work out a solution but need help from a neutral person.
                  •    have communication problems or strong emotions that interfere with resolution.

                Mediation may not be appropriate when the parties
                  •    want a public trial and want a judge orjury to decide the outcome.
                  :    lack equal bargaining power or have a history of physical/emotional abuse.




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For Mandatory Use
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                                                 ID #:64




                               How to Arrange Mediation in Los Angeles County

     Mediation for civil cases is voluntary and parties may select any mediator they wish. 0ptions include:

        a. The Civil Mediation Vendor Resource Ust
           If all parties in an active civil case agree to mediation, they may contact these organizations to
           request a"Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

             •   ADR Services, Inc. Assistant Case Manager Janet Solis, LaneadrserVices.com
                                                                                       __-
                 (213)683-1600
             •   Mediation Center of Los Angeles Program Manager'info@iationLA.orp
                 (833)476-9145

             These organizations cannot accept every case and they may decline cases at their discretion.
             They may offer online mediation by video conference for cases they accept. Before contacting
             these organizations, review important information and FACLS at www.lacourt.ore/ADR.Res.List

             NOTE: The Civil Mediation Vendor Resource Ust program does not accept family law, probate,
             or small claims cases.

         b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
            mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
             harassment, and limited civil (collections and non-collection) cases.
             iittps://dcba':lacounty.eov/countvwid`edro/                 --

             Online Dispute Resolution (ODR). Parties iri small claims and unlawful detainer (eviction) cases
             should carefully review the Notice and other information theymay_ receive about (ODR)
             requirements for their case. httpsa7my.lacoiirt:or~/odr/ -

         c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

     3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
        arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
         decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial.
         after the arbitrator's decision. For more information about arbitration, visit
         https://www:courts.ca.eav/proarams-ad r:htm.

     4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
        to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
        settlement officer who does not make a decision but who instead assists the parties in evaluating
        the strengths and weaknesses of the case and in negotiating a settlement. For information about
         the Court's MSC programs for civil cases, visit https:-f/wirJw:Iacour₹.ore/division/ciyii/CI0047.aspx'

     Los Angeles Superior Court ADR website: https://www.lacourt.org/division/cMl/Ò0lÕ9.åspx
     For general information and videos about ADR, visit http:%hvww:courts;ca:eov/proerams-adr:htm



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     For Mandatory Use
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                                                   ID #:65

                                                                                           RasorvadforClark'sFfloSlamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                       FILED
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 Stanley Mosk Courthouse                                                                           Counlyal LosAnca,zs
 111 North Hill Street, Los Angeles, CA 90012                                                         04111i2024
                                                                                         i..j'i'1-     1,              Cco'Cur..
  PLAINTIFF(S):
                                                                                         ~.`.;              R. LeO        U= _ri•
 Craig M Garriott
  DEFENDANT(S):

 The Boeing Company, et al.
                                                                                       CASE NUMBER:
                          ORDER TO SHOW CAUSE HEARING
                                                                                      24STCV09031

  To.the party / attorney of record:
  You are ordered to appear for an Order to Show Cause Hearing on 09/26/2024 at 8:330 AM in
  department58 of this court, Stanley Mosk Courthouse
  and show cause why sanctions should not be imposed for:
 [v]      Failure to file proof of service.

 Failure to comply or appear may result in sanctions pursuant to one or more of the following: California
 Rules of Court, rule 2.30 and rule 3.1340; Code of Civil Procedure sections 177.5, 575.2, 583.150,
 583.310, 583.360, 583.410, 583.420, 583.430; and Government Code section 68608.

 [d]      To avoid a mandatory appearance all required documents must be filed at least 5 days prior to the
          date of the hearing.




                                                      ~t~~~t~ •~l.~J



                                                      '•`~. ~._ _.I~~:,;;
  Dated: 04/11/2024                                                         Biuc e G. I«rasaki / Judge
                                                                                   Judicial Officer




                                         ORDER TO SHOW CAUSE HEARING
 LACIV 166 (Rev. 09/08)                                                                              Cal. Rules of Court, rule 2.30
 LASC Approved 06-04                                                                                 LASC Local Rules. Chapter 7
Case 2:24-cv-04735-DMG-MAR                Document 1-1        Filed 06/05/24           Page 53 of 101 Page
                                               ID #:66


                                                                                       ReservedrorClerk'sFileSlamp
             SUPERIOR COURT OF CALIFORNIA
                COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                              FILED
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  Stanley Mosk Courthouse                                                                 C•~~rlfjaf ~s,`ln•_r'_as
  111 North Hill Street, Los Angeles, CA 90012                                                04/11~2024
  PLAINTIFF/PETITiONER:                                                               . ' ' r -'
                                                                                                    R.
  Craig M Garriott                                                                '                      L,-          `r-"`'
  DEFENDANT/RESPONDENT:
  The Boeing Company, et al.

                                                                              CASE NUMBER:
                          CERTIFICATE OF MAILING                              24STCV09031

  I, the.below-narned Executive OfficerlCle:rk of the above=entitled court; do hereby certify that I am not a
  party to the cause herein, and that on this date I setved'the Notice of'Case Management Conference upon
  each party, or counsel named below by placing the document for collection and'mailing .so as to cause it to
  be deposited.in the United States mail at the,courthouse in Los Angeles, California, one copy=of the original
  filed/entered herein in a separate sealed envelope to each address as shown below with the postage
  thereon fully prepaid, in accordance with standard court practices.




      Leonard H. Sansanowicz                                     Narak Mirzaie
      21031 Ventura Boulevard Suite 701                          M Law Attorneys, APC
      Woodland Hills, CA 91364                                   P.O. Box 60091
                                                                 Pasadena, CA 91102




                                                       David W. Slayton, Executive Officer / Clerk of Court

  Dated: 04/11/2024                                     By: R. Lee
                                                            Deputy Clerk




                                          CERTIFICATE OF MAILING
 Case 2:24-cv-04735-DMG-MAR                  Document 1-1          Filed 06/05/24         Page 54 of 101 Page
                                                  ID #:67


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                                           LOS ANGELES
                 111 North Hill Street
                 111 North Hill Street
                 Los Angeles CA 90012
                 Stanley Mosk Courthouse

                       Craig M. Garriott
                       The Boeing Company

                                                                                          24STCV09031


                                 NINA MATTERA, an individual




                  May 9, 2024

  Leonard H. Sansanowicz, Esq.




   X                    (1) Summons; (2) First Amended Complaint; (3) Civil Case Cover Sheet and Addendum; (4) Notice of
                        Case Management Conference; (5) Notice of Case Assignment; (6) Alternative Dispute Resolution Packet;
                        (7) Order to Show Cause Hearing re: Proof of Service; (8) Preservation of Evidence Letter dated April 12,
                        2023; (9) Preservation of Evidence Letter dated May 2, 2024
 Case 2:24-cv-04735-DMG-MAR                  Document 1-1          Filed 06/05/24         Page 55 of 101 Page
                                                  ID #:68


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                 Stanley Mosk Courthouse

                       Craig M. Garriott
                       The Boeing Company

                                                                                          24STCV09031


                                 JENNIFER BERINA-BUELNA, an individual




                  May 9, 2024

  Leonard H. Sansanowicz, Esq.




   X                    (1) Summons; (2) First Amended Complaint; (3) Civil Case Cover Sheet and Addendum; (4) Notice of
                        Case Management Conference; (5) Notice of Case Assignment; (6) Alternative Dispute Resolution Packet;
                        (7) Order to Show Cause Hearing re: Proof of Service; (8) Preservation of Evidence Letter dated April 12,
                        2023; (9) Preservation of Evidence Letter dated May 2, 2024
Case 2:24-cv-04735-DMG-MAR   Document 1-1   Filed 06/05/24   Page 56 of 101 Page
                                  ID #:69




                       EXHIBIT 2
     Case 2:24-cv-04735-DMG-MAR            Document 1-1         Filed 06/05/24         Page 57 of 101 Page
                                                ID #:70



From:                        cscmattermanagement@cscglobal.com
Sent:                        Wednesday, May 8, 2024 10:40 AM
To:                          Mintzlaff (US), Richell L; Wakiya (US), Emi; Hirokawa (US), Janel A; Krubski (US), Barbara;
                             Peles-Gray (US), Tal; Hazany, Catherine (Catie) L.; Castaneda, Margaret C.
Subject:                     [EXTERNAL] New Service of Process - Summons and Amended Complaint - Transmittal:
                             29067761



   EXT email: be mindful of links/attachments.




 New Service of Process Added to Matter Notification
 This message is an alert only. Please do not reply to this message.
 The following new Document(s) have been added to the following matter.

 Alert Date: 05/08/2024

 Assigned Document(s):


 Document ID:                          41716095 (View/Share the Document)
 Document Title :                Summons and Amended Complaint
 Answer Date :                   30
 Entity as Established :         The Boeing Company
 Date Served :                   05/07/2024
 CSC Doc type :                  Summons and Amended Complaint
 Court :                         Los Angeles County Superior Court
 State Served :                  California
 Document is Time Sensitive :
 Document is Service Of Process :Yes

 Matter Information:
                                                      14014928
 Matter ID: 14014928 (Go to Matter Detail Folders)
 Matter Id :
 Matter Full Name :                                Craig Garriott v. The Boeing Company
 Jurisdiction :
 Court :                                           Los Angeles County Superior Court
 Cause # :
 Nature of Case :
 Matter Users:
 Richell Mintzlaff MC5003-1001 richell.l.mintzlaff@boeing.com
 Tal T. Peles-Gray tal.peles-gray@boeing.com
 Barbara Krubski barbara.krubski@boeing.com
 Emi Wakiya emi.wakiya@boeing.com
 Janel Hirokawa janel.a.hirokawa@boeing.com
 Catherine Hazany catherine.hazany@ogletree.com
 Margaret Castaneda margaret.castaneda@ogletree.com


                                                        1
   Case 2:24-cv-04735-DMG-MAR         Document 1-1       Filed 06/05/24     Page 58 of 101 Page
                                           ID #:71


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Case 2:24-cv-04735-DMG-MAR   Document 1-1   Filed 06/05/24   Page 59 of 101 Page
                                  ID #:72




                       EXHIBIT 3
 Case 2:24-cv-04735-DMG-MAR                  Document 1-1          Filed 06/05/24         Page 60 of 101 Page
                                                  ID #:73


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                 111 North Hill Street
                 Los Angeles CA 90012
                 Stanley Mosk Courthouse

                       Craig M. Garriott
                       The Boeing Company

                                                                                          24STCV09031


                                 NINA MATTERA, an individual




                  May 9, 2024

  Leonard H. Sansanowicz, Esq.




   X                    (1) Summons; (2) First Amended Complaint; (3) Civil Case Cover Sheet and Addendum; (4) Notice of
                        Case Management Conference; (5) Notice of Case Assignment; (6) Alternative Dispute Resolution Packet;
                        (7) Order to Show Cause Hearing re: Proof of Service; (8) Preservation of Evidence Letter dated April 12,
                        2023; (9) Preservation of Evidence Letter dated May 2, 2024




                      May 20, 2024


Catherine L. Hazany

Attorneys for Defendant Nina Mattera
                Case 2:24-cv-04735-DMG-MAR               Document 1-1        Filed 06/05/24     Page 61 of 101 Page
                                                              ID #:74


                      1                                      PROOF OF SERVICE
                                                   Craig M Garriott v. The Boeing Company, et al.
                      2                                      Case No. 24STCV09031
                      3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
                          action in which this service is made. At all times herein mentioned I have been employed in the
                      4   County of Los Angeles in the office of a member of the bar of this court at whose direction the
                          service was made. My business address is 19191 S. Vermont Avenue, Suite 950, Torrance, CA
                      5   90502.

                      6          On May 20, 2024, I served the following document(s):

                      7                    DEFENDANT NINA MATTERA’S ACKNOWLEDGMENT OF
                                                RECEIPT OF SUMMONS AND COMPLAINT
                      8
                          by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as stated on the
                      9   attached service list.

                    10    ☐      BY MAIL: I placed the envelope for collection and mailing, following our ordinary
                                 business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
                    11           Smoak & Stewart, P.C.’s practice for collecting and processing correspondence for mailing.
                                 On the same day that correspondence is placed for collection and mailing, it is deposited in
                    12           the ordinary course of business with the United States Postal Service, in a sealed envelope
                                 with postage fully prepaid.
                    13
                          ☐      BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s) designated
                    14           by the express service carrier for collection and overnight delivery by following the
                                 ordinary business practices of Ogletree, Deakins, Nash, Smoak & Stewart P.C., Torrance,
                    15           California. I am readily familiar with Ogletree, Deakins, Nash, Smoak & Stewart P.C.’s
                                 practice for collecting and processing of correspondence for overnight delivery, said
                    16           practice being that, in the ordinary course of business, correspondence for overnight
                                 delivery is deposited with delivery fees paid or provided for at the carrier’s express service
                    17           offices for next-day delivery.

                    18    ☒      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                                 agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                    19           documents to be sent to the person(s) at the e-mail addresses listed on the attached service
                                 list. I did not receive, within a reasonable time after the transmission, any electronic
                    20           message or other indication that the transmission was unsuccessful.

                    21    ☒      (State)        I declare under penalty of perjury under the laws of the State of California
                                                that the above is true and correct.
                    22
                                 Executed on May 20, 2024, at Torrance, California.
                    23

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                                                                                CAROLINA MARTIS
                    25
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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                          2
                                                                 PROOF OF SERVICE
                Case 2:24-cv-04735-DMG-MAR         Document 1-1   Filed 06/05/24      Page 62 of 101 Page
                                                        ID #:75


                      1                                    SERVICE LIST
                      2

                      3   Leonard H. Sansanowicz, Esq.            Attorneys for Plaintiff
                          SANSANOWICZ LAW GROUP, P.C.             CRAIG M GARRIOTT
                      4   21031 Ventura Blvd., Suite 701
                          Woodland Hills, CA 91364
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                          Fax: (818) 639-8511
                      6   Email: leonard@law-slg.com

                      7   Narak Mirzaie, Esq.                     Attorneys for Plaintiff
                          M LAW ATTORNEYS, APC                    CRAIG M GARRIOT
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                          Pasadena, CA 91102
                      9   Tel: (626) 626-4422
                          Fax: (626) 626-4420
                    10    Email: nm@mlawattorneys.com

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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                3
                                                        PROOF OF SERVICE
 Case 2:24-cv-04735-DMG-MAR                  Document 1-1          Filed 06/05/24         Page 63 of 101 Page
                                                  ID #:76


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                  leonard@law-slg.com
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                                           LOS ANGELES
                 111 North Hill Street
                 111 North Hill Street
                 Los Angeles CA 90012
                 Stanley Mosk Courthouse

                       Craig M. Garriott
                       The Boeing Company

                                                                                          24STCV09031


                                 JENNIFER BERINA-BUELNA, an individual




                  May 9, 2024

  Leonard H. Sansanowicz, Esq.




   X                    (1) Summons; (2) First Amended Complaint; (3) Civil Case Cover Sheet and Addendum; (4) Notice of
                        Case Management Conference; (5) Notice of Case Assignment; (6) Alternative Dispute Resolution Packet;
                        (7) Order to Show Cause Hearing re: Proof of Service; (8) Preservation of Evidence Letter dated April 12,
                        2023; (9) Preservation of Evidence Letter dated May 2, 2024




                       May 20, 2024


Catherine L. Hazany

Attorneys for Defendant Jennifer Berina-Buelna
                Case 2:24-cv-04735-DMG-MAR               Document 1-1        Filed 06/05/24     Page 64 of 101 Page
                                                              ID #:77


                      1                                      PROOF OF SERVICE
                                                   Craig M Garriott v. The Boeing Company, et al.
                      2                                      Case No. 24STCV09031
                      3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
                          action in which this service is made. At all times herein mentioned I have been employed in the
                      4   County of Los Angeles in the office of a member of the bar of this court at whose direction the
                          service was made. My business address is 19191 S. Vermont Avenue, Suite 950, Torrance, CA
                      5   90502.

                      6          On May 20, 2024, I served the following document(s):

                      7           DEFENDANT JENNIFER BERINA-BUELNA’S ACKNOWLEDGMENT OF
                                            RECEIPT OF SUMMONS AND COMPLAINT
                      8
                          by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as stated on the
                      9   attached service list.

                    10    ☐      BY MAIL: I placed the envelope for collection and mailing, following our ordinary
                                 business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
                    11           Smoak & Stewart, P.C.’s practice for collecting and processing correspondence for mailing.
                                 On the same day that correspondence is placed for collection and mailing, it is deposited in
                    12           the ordinary course of business with the United States Postal Service, in a sealed envelope
                                 with postage fully prepaid.
                    13
                          ☐      BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s) designated
                    14           by the express service carrier for collection and overnight delivery by following the
                                 ordinary business practices of Ogletree, Deakins, Nash, Smoak & Stewart P.C., Torrance,
                    15           California. I am readily familiar with Ogletree, Deakins, Nash, Smoak & Stewart P.C.’s
                                 practice for collecting and processing of correspondence for overnight delivery, said
                    16           practice being that, in the ordinary course of business, correspondence for overnight
                                 delivery is deposited with delivery fees paid or provided for at the carrier’s express service
                    17           offices for next-day delivery.

                    18    ☒      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                                 agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                    19           documents to be sent to the person(s) at the e-mail addresses listed on the attached service
                                 list. I did not receive, within a reasonable time after the transmission, any electronic
                    20           message or other indication that the transmission was unsuccessful.

                    21    ☒      (State)        I declare under penalty of perjury under the laws of the State of California
                                                that the above is true and correct.
                    22
                                 Executed on May 20, 2024, at Torrance, California.
                    23

                    24
                                                                                CAROLINA MARTIS
                    25
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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                          2
                                                                 PROOF OF SERVICE
                Case 2:24-cv-04735-DMG-MAR         Document 1-1   Filed 06/05/24      Page 65 of 101 Page
                                                        ID #:78


                      1                                    SERVICE LIST
                      2

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                      7   Narak Mirzaie, Esq.                     Attorneys for Plaintiff
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                          Pasadena, CA 91102
                      9   Tel: (626) 626-4422
                          Fax: (626) 626-4420
                    10    Email: nm@mlawattorneys.com

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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                3
                                                        PROOF OF SERVICE
Case 2:24-cv-04735-DMG-MAR   Document 1-1   Filed 06/05/24   Page 66 of 101 Page
                                  ID #:79




                       EXHIBIT 4
                Case 2:24-cv-04735-DMG-MAR            Document 1-1   Filed 06/05/24       Page 67 of 101 Page
                                                           ID #:80


                      1   Catherine L. Hazany, CA Bar No. 229095
                          catherine.hazany@ogletree.com
                      2   Margaret C. Castaneda, CA Bar No. 311670
                          margaret.castaneda@ogletree.com
                      3   OGLETREE, DEAKINS, NASH, SMOAK &
                          STEWART, P.C.
                      4   19191 S. Vermont Avenue, Suite 950
                          Torrance, CA 90502
                      5   Telephone:    310-217-8191
                          Facsimile:     310-217-8184
                      6
                          Attorneys for Defendants THE BOEING
                      7   COMPANY, MILLENNIUM SPACE
                          SYSTEMS, INC, JENNIFER BERINA-
                      8   BUELNA and NINA MATTERA
                      9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                    10                              FOR THE COUNTY OF LOS ANGELES

                    11

                    12    CRAIG M GARRIOTT, an individual,               Case No. 24STCV09031

                    13                Plaintiff,                         [Assigned for all purposes to The Honorable
                                                                         Bruce G. Iwasaki, Dept. 58]
                    14          vs.
                                                                         DEFENDANTS THE BOEING COMPANY,
                    15    THE BOEING COMPANY, a Delaware                 MILLENNIUM SPACE SYSTEMS, INC.,
                          corporation, MILLENNIUM SPACE                  JENNIFER BERINA-BUELNA, AND NINA
                    16    SYSTEMS, INC., a Delaware corporation,         MATTERA’S ANSWER TO PLAINTIFF
                          JENNIFER BERINA-BUELNA, an individual,         CRAIG M. GARRIOTT’S FIRST
                    17    NINA MATTERA, an individual, and DOES 1        AMENDED COMPLAINT
                          to 100, inclusive,
                    18
                                      Defendants.
                    19

                    20
                                                                         Action Filed:       April 10, 2024
                    21                                                   Trial Date:         Not Set

                    22

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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                   1
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR                Document 1-1         Filed 06/05/24      Page 68 of 101 Page
                                                               ID #:81


                      1   TO THE COURT, PLAINTIFF CRAIG GARRIOTT, AND HER ATTORNEYS OF
                      2   RECORD:
                      3          Defendants The Boeing Company (Boeing), Millennium Space Systems, Inc. (MSS),
                      4   Jennifer Berina-Buelna, and Nina Mattera (collectively, “Defendants”) hereby answer the First
                      5   Amended Complaint (“FAC”) filed by Craig Garriott (“Plaintiff”) as follows:
                      6                                           GENERAL DENIAL
                      7          Pursuant to the provisions of section 431.30 of the California Code of Civil Procedure,
                      8   Defendants deny, generally and specifically, each and every allegation contained in the Complaint,
                      9   and further deny that Plaintiff has sustained damages in the sum or manner alleged, or in any other
                    10    sum or manner whatsoever, and deny that Plaintiff is entitled to damages or to any other relief
                    11    whatsoever by reason of any alleged acts and/or omissions of Defendants or any of Defendants’
                    12    current or former employees or agents.
                    13           Defendants also give notice that they intend to rely upon such other and further affirmative
                    14    defenses as may become available during investigation and discovery in this action. Defendants
                    15    reserve the right to amend this Answer to assert any such defenses, based on such investigation and
                    16    discovery.
                    17                                       AFFIRMATIVE DEFENSES
                    18           Without waiving any of the foregoing answers and defenses, Defendants assert the
                    19    following affirmative defenses to Plaintiff’s FAC.
                    20                                    FIRST AFFIRMATIVE DEFENSE
                    21                                    (Failure to State a Cause of Action)
                    22           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    23    therein, Defendants allege that the FAC fails to state facts sufficient to constitute a cause of action
                    24    upon which relief can be granted against Defendants or any of them.
                    25                                  SECOND AFFIRMATIVE DEFENSE
                    26                                           (Statute of Limitations)
                    27           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    28    therein, Defendants allege that the claims brought by Plaintiff are barred, in whole or in part, by
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                           2
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR                  Document 1-1      Filed 06/05/24      Page 69 of 101 Page
                                                                 ID #:82


                      1   one or more of the applicable statutes of limitations, including, without limitation, California Code
                      2   of Civil Procedure sections 337, 338, 339, and 340, and California Labor Code section 203.
                      3   Plaintiff failed to assert the claims within his FAC within the time limits prescribed by law and/or
                      4   as required by the collective bargaining agreement between Plaintiff and Boeing/MSS.
                      5                                  THIRD AFFIRMATIVE DEFENSE
                      6                                               (Preemption)
                      7           Defendants allege that the Complaint is barred because it is preempted by Section 301 of the
                      8   Labor Management Relations Act, 29 U.S.C. §185(a), and requires interpretation of a collective
                      9   bargaining agreement between the Union and Defendants.
                    10                                  FOURTH AFFIRMATIVE DEFENSE
                    11                                                  (Estoppel)
                    12            As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    13    therein, Defendants allege that the claims brought by Plaintiff are barred, in whole or in part, by the
                    14    doctrine of estoppel, including, but not limited to, because Plaintiff through his actions and
                    15    representations, led Defendants to believe that they were and are in full compliance with all
                    16    obligations to their employees.
                    17                                    FIFTH AFFIRMATIVE DEFENSE
                    18                                        (All Obligations Performed)
                    19            As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    20    therein, Defendants allege that the FAC is barred, in whole or in part, because Defendants Boeing
                    21    and MSS have fully and/or substantially performed any and all obligations it may have had to
                    22    Plaintiff.
                    23                                   SIXTH AFFIRMATIVE DEFENSE
                    24                                           (Management Rights)
                    25            As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    26    therein, Defendants allege that the Plaintiff’s claims are barred, in whole or in part, the grounds that
                    27    the Defendants acted consistent with management rights clause(s) in the collective bargaining
                    28    agreement between the Plaintiff and Defendants Boeing and MSS.
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                           3
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR                Document 1-1         Filed 06/05/24      Page 70 of 101 Page
                                                               ID #:83


                      1                                 SEVENTH AFFIRMATIVE DEFENSE
                      2                                                  (Laches)
                      3          As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                      4   therein, Defendants allege that the claims brought by Plaintiff are barred, in whole or in part, by the
                      5   doctrine of laches, including, but not limited to, because Plaintiff unreasonably delayed bringing
                      6   the claims alleged in Plaintiff’s Complaint.
                      7                                 EIGHTH AFFIRMATIVE DEFENSE
                      8                                          (Improper Jurisdiction)
                      9          As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    10    therein, Defendants allege that the FAC is barred, in whole or in part, because jurisdiction in this
                    11    Court is improper. The FAC must be adjudicated in the appropriate federal court.
                    12                                   NINTH AFFIRMATIVE DEFENSE
                    13                                   (Lack of Subject Matter Jurisdiction)
                    14           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    15    therein, Defendants allege Plaintiff’s claims fail to the extent they lack subject matter jurisdiction.
                    16                                   TENTH AFFIRMATIVE DEFENSE
                    17                                  (Res Judicata and Collateral Estoppel)
                    18           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    19    therein, Defendants allege that the FAC, each purported cause of action alleged therein, and the
                    20    elements of relief sought therein are barred, in whole or in part, by res judicata and/or collateral
                    21    estoppel, including, but not limited to, due to proceedings/ grievances/investigations that Plaintiff
                    22    was involved in before other tribunals, state agencies, or venues.
                    23                                ELEVENTH AFFIRMATIVE DEFENSE
                    24                                                (Same Claims)
                    25            As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action
                    26    alleged therein, Defendants allege that Plaintiff is barred to the extent that the same or similar
                    27    claims are governed by orders, awards, or judgments issued in any other judicial, administrative,
                    28    or arbitral forum.
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                           4
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR                Document 1-1         Filed 06/05/24      Page 71 of 101 Page
                                                               ID #:84


                      1                                TWELFTH AFFIRMATIVE DEFENSE
                      2                                             (Unclean Hands)
                      3          As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                      4   therein, Defendants allege that the claims brought by Plaintiff are barred, in whole or in part, by the
                      5   unclean hands and/or inequitable or wrongful conduct of Plaintiff including, but not limited to,
                      6   because Plaintiff failed to comply with Defendants’ policies and practices.
                      7                              THIRTEENTH AFFIRMATIVE DEFENSE
                      8                                                  (Waiver)
                      9          As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    10    therein, Defendants allege that the claims brought by Plaintiff are barred, in whole or in part,
                    11    because such claims have been waived, discharged, and/or abandoned, including, but not limited
                    12    to, because Plaintiff acted in such a manner as to evince an intent to relinquish any claims.
                    13                               FOURTEENTH AFFIRMATIVE DEFENSE
                    14                                             (Waiver & Release)
                    15           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    16    therein, Defendants allege that the claims brought by Plaintiff are barred, in whole or in part, to the
                    17    extent that Plaintiff has released and/or waived some or all of his claims against Defendants
                    18                                FIFTEENTH AFFIRMATIVE DEFENSE
                    19                                            (Failure to Mitigate)
                    20           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    21    therein, Defendants allege that Plaintiff failed to exercise due diligence in an effort to mitigate any
                    22    damages allegedly incurred, including, but not limited to, by timely notifying Defendants regarding
                    23    any adverse employment action.
                    24                                SIXTEENTH AFFIRMATIVE DEFENSE
                    25                                    (Setoff, Offset, and/or Recoupment)
                    26           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    27    therein, Defendants allege, based on information and belief, that if Plaintiff is entitled to any
                    28    damages (which Defendants specifically deny), Defendants are entitled under the equitable
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                           5
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR                Document 1-1        Filed 06/05/24      Page 72 of 101 Page
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                      1   doctrine of setoff and recoupment to offset all extra payments or overpayments and/or all
                      2   obligations of Plaintiff to Defendants against any judgment that may be entered against
                      3   Defendants.
                      4                             SEVENTEENTH AFFIRMATIVE DEFENSE
                      5                                               (De Minimis)
                      6          As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                      7   therein, Defendants allege that, to the extent that Plaintiff was harmed in any way (which
                      8   Defendants specifically deny), the damages of Plaintiff are de minimis and, thus, not legally
                      9   cognizable or not capable of determination.
                    10                               EIGHTEENTH AFFIRMATIVE DEFENSE
                    11                                         (Avoidable Consequences)
                    12           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    13    therein, Defendants allege that the claims brought by Plaintiff are barred, in whole or in part, under
                    14    California law by the doctrine of avoidable consequences on the grounds that Plaintiff
                    15    unreasonably failed to make use of Defendants’ practices or procedures by failing to timely and
                    16    properly report any purportedly unlawful acts and/or omissions alleged in the FAC.
                    17                               NINETEENTH AFFIRMATIVE DEFENSE
                    18                              (Failure to Exhaust Administrative Remedies)
                    19           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    20    therein, Defendants allege that Plaintiff’s claims against Defendants are barred, in whole or in part,
                    21    to the extent Plaintiff failed to exhaust all administrative remedies, including but not limited to by
                    22    failing to comply with California Labor Code section 2698 et seq.
                    23                               TWENTIETH AFFIRMATIVE DEFENSE
                    24                                                  (Consent)
                    25           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    26    therein, Defendants allege that Plaintiff consented and agreed to the conduct about which he now
                    27    complains, including, but not limited to, by reviewing and signing his acknowledgment to all of
                    28
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                           6
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR               Document 1-1        Filed 06/05/24      Page 73 of 101 Page
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                      1   Defendants’ workplace policies, including without limitation, the collective bargaining agreement
                      2   between the parties and to any alleged altercations with Defendants Mattera and/or Berina-Buelna.
                      3                            TWENTY-FIRST AFFIRMATIVE DEFENSE
                      4                                 (Collective Bargaining Agreement(s))
                      5          As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                      6   therein, Defendants allege that Plaintiff’s employment relationship with Boeing and/or MSS is and
                      7   at all times was governed by one or more collective bargaining agreements. Therefore, Defendants
                      8   are subject to specific defenses and exemptions based on these collectively-bargained contracts.
                      9                          TWENTY-SECOND AFFIRMATIVE DEFENSE
                    10                                        (Civil Code Section 47(c))
                    11           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    12    therein, Defendants allege that all communications by Defendants are privileged and subject to the
                    13    common-interest privilege of Civil Code Section 47(c).
                    14                            TWENTY-THIRD AFFIRMATIVE DEFENSE
                    15                                                  (Truth)
                    16           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    17    therein, Defendants allege that all communications by Defendants were true.
                    18                           TWENTY-FOURTH AFFIRMATIVE DEFENSE
                    19                                              (Mixed Motive)
                    20           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    21    therein, Defendants allege that in the event Plaintiff proves any wrongful acts by Defendants, all of
                    22    which Defendants deny, the adverse employment actions about which Plaintiff complains would
                    23    have been the same even if the alleged wrongful motive played no role. (Harris v. City of Santa
                    24    Monica (2013) 56 Cal.4th 203, 241.)
                    25                             TWENTY-FIFTH AFFIRMATIVE DEFENSE
                    26                               (Same Decision-Labor Code Section 1102.6)
                    27           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    28    therein, Defendants allege that Plaintiff is not entitled to any damages because the same decision(s)
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                          7
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR                 Document 1-1        Filed 06/05/24        Page 74 of 101 Page
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                      1   would have been made for non-retaliatory reasons. (Ververka v. Department of Veterans Affairs,
                      2   CA1/1 A163571, filed 5/6/24, pub. 5/22/24.)
                      3                             TWENTY-SIXTH AFFIRMATIVE DEFENSE
                      4                                        (After-Acquired Evidence)
                      5          As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                      6   therein, Defendants allege that Plaintiff’s claims and damages, if any, are barred, in whole or in
                      7   part, by the doctrine of after-acquired evidence.
                      8                             TWENTY-SIXTH AFFIRMATIVE DEFENSE
                      9                                            (Comparative Fault)
                    10           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    11    therein, Defendants allege that any recovery on Plaintiff's FAC, or any cause of action alleged
                    12    therein, is barred in whole or in part by Plaintiff's comparative fault.
                    13                           TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                    14                                               (Apportionment)
                    15           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    16    therein, Defendants allege that the liability of Defendants and all responsible parties named or
                    17    unnamed, if any, for any injury, damage, or loss sustained by Plaintiff should be apportioned
                    18    according to their respective degree of fault, and the liability, if any, of Defendants should be
                    19    reduced accordingly.
                    20                            TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                    21                                         (Conduct of Other Parties)
                    22           As a separate and affirmative defense to Plaintiff’s FAC and to each cause of action alleged
                    23    therein, Defendants allege that Defendants are informed and believe, and thereon allege, that any
                    24    damages allegedly incurred by Plaintiff as a result of Defendants’ acts, errors, representations or
                    25    omissions were caused or contributed to in whole or in part by the acts, errors, representations
                    26    and/or omissions of persons other than Defendants, and Plaintiff's recovery, if any, should be
                    27    exclusively against such others and not against Defendants.
                    28
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                            8
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
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                                                              ID #:88


                      1                                    RESERVATION OF RIGHTS
                      2          Defendants reserves the right to assert any additional defenses and matters in avoidance that
                      3   may be disclosed during the course of additional investigation and discovery, when and if the same
                      4   have been ascertained.
                      5                                               PRAYER
                      6          WHEREFORE, Defendants pray for judgment as follows:
                      7          1.     That Plaintiff’s Complaint be dismissed with prejudice and in its entirety;
                      8          2.     That Plaintiff takes nothing by this action;
                      9          3.     That judgment be entered against Plaintiff and in favor of Defendants on all causes
                    10                  of action asserted in the Complaint;
                    11           4.     That Defendants be awarded all costs and attorneys’ fees incurred in defending this
                    12                  action; and
                    13           5.     That Defendants be granted such other and further relief as the Court may deem just
                    14                  and proper.
                    15

                    16

                    17    DATED: June 4, 2024                               OGLETREE, DEAKINS, NASH, SMOAK &
                                                                            STEWART, P.C.
                    18
                    19

                    20                                                      By:
                                                                                  Catherine L. Hazany
                    21                                                            Margaret C. Castaneda
                    22                                                      Attorneys for Defendants THE BOEING
                                                                            COMPANY, MILLENNIUM SPACE
                    23                                                      SYSTEMS, INC, JENNIFER BERINA-
                                                                            BUELNA and NINA MATTERA
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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                         9
                          DEFENDANTS’ ANSWER TO PLAINTIFF CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT
                Case 2:24-cv-04735-DMG-MAR               Document 1-1        Filed 06/05/24     Page 76 of 101 Page
                                                              ID #:89


                      1                                      PROOF OF SERVICE
                                                   Craig M Garriott v. The Boeing Company, et al.
                      2                                      Case No. 24STCV09031
                      3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
                          action in which this service is made. At all times herein mentioned I have been employed in the
                      4   County of Los Angeles in the office of a member of the bar of this court at whose direction the
                          service was made. My business address is 19191 S. Vermont Avenue, Suite 950, Torrance, CA
                      5   90502.

                      6          On June 4, 2024, I served the following document(s):

                      7       DEFENDANTS THE BOEING COMPANY, MILLENNIUM SPACE SYSTEMS, INC.,
                               JENNIFER BERINA-BUELNA, AND NINA MATTERA ANSWER TO PLAINTIFF
                      8                CRAIG M. GARRIOTT’S FIRST AMENDED COMPLAINT

                      9   by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as stated on the
                          attached service list.
                    10
                          ☐      BY MAIL: I placed the envelope for collection and mailing, following our ordinary
                    11           business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
                                 Smoak & Stewart, P.C.’s practice for collecting and processing correspondence for mailing.
                    12           On the same day that correspondence is placed for collection and mailing, it is deposited in
                                 the ordinary course of business with the United States Postal Service, in a sealed envelope
                    13           with postage fully prepaid.

                    14    ☐      BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s) designated
                                 by the express service carrier for collection and overnight delivery by following the
                    15           ordinary business practices of Ogletree, Deakins, Nash, Smoak & Stewart P.C., Torrance,
                                 California. I am readily familiar with Ogletree, Deakins, Nash, Smoak & Stewart P.C.’s
                    16           practice for collecting and processing of correspondence for overnight delivery, said
                                 practice being that, in the ordinary course of business, correspondence for overnight
                    17           delivery is deposited with delivery fees paid or provided for at the carrier’s express service
                                 offices for next-day delivery.
                    18
                          ☒      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                    19           agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                                 documents to be sent to the person(s) at the e-mail addresses listed on the attached service
                    20           list. I did not receive, within a reasonable time after the transmission, any electronic
                                 message or other indication that the transmission was unsuccessful.
                    21
                          ☒      (State)        I declare under penalty of perjury under the laws of the State of California
                    22                          that the above is true and correct.

                    23           Executed on June 4, 2024, at Torrance, California.
                    24

                    25                                                          CAROLINA MARTIS
                    26

                    27

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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                         10
                                                                 PROOF OF SERVICE
                Case 2:24-cv-04735-DMG-MAR         Document 1-1    Filed 06/05/24     Page 77 of 101 Page
                                                        ID #:90


                      1                                    SERVICE LIST
                      2

                      3   Leonard H. Sansanowicz, Esq.            Attorneys for Plaintiff
                          SANSANOWICZ LAW GROUP, P.C.             CRAIG M GARRIOTT
                      4   21031 Ventura Blvd., Suite 701
                          Woodland Hills, CA 91364
                      5   Tel: (818) 639-8510
                          Fax: (818) 639-8511
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                      7   Narak Mirzaie, Esq.                     Attorneys for Plaintiff
                          M LAW ATTORNEYS, APC                    CRAIG M GARRIOT
                      8   P.O. BOX 60091
                          Pasadena, CA 91102
                      9   Tel: (626) 626-4422
                          Fax: (626) 626-4420
                    10    Email: nm@mlawattorneys.com

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O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                11
                                                        PROOF OF SERVICE
Case 2:24-cv-04735-DMG-MAR   Document 1-1   Filed 06/05/24   Page 78 of 101 Page
                                  ID #:91




                       EXHIBIT 5
           Case 2:24-cv-04735-DMG-MAR                             Document 1-1             Filed 06/05/24             Page 79 of 101 Page
                                                                       ID #:92
                                                                                                                                                       CM-015
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                 FOR COURT USE ONLY
  Catherine L. Hazany, SBN 229095; Margaret C. Castaneda, SBN 311670
  Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
  19191 S. Vermont Ave., Suite 950
  Torrance, CA 90502
            TELEPHONE NO.: 310-217-8191                FAX NO. (Optional): 310-217-8184

   E-MAIL ADDRESS (Optional): catherine.hazany@ogletree.com
                              Defs. The Boeing Company, Millennium Space Systems, Inc.,
      ATTORNEY FOR (Name):    Jennifer Berina-Buelna and Nina Mattera
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
           STREET ADDRESS: 111 North Hill Street

           MAILING ADDRESS: 111 North Hill Street

          CITY AND ZIP CODE: Los Angeles 90012

              BRANCH NAME: Stanley Mosk Courthouse
                                                                                                             CASE NUMBER:
           PLAINTIFF/PETITIONER: Craig M. Garriott                                                           24STCV09031

 DEFENDANT/RESPONDENT: The Boeing Company, et al.                                                            JUDICIAL OFFICER:
                                                                                                             Hon. Bruce G. Iwasaki
                                                                                                             DEPT.:

                                          NOTICE OF RELATED CASE                                             58



Identify, in chronological order according to date of filing, all cases related to the case referenced above.
1. a. Title: Kathy Moonitz v. The Boeing Company, et al.
      b. Case number: 24STCV09122
      c. Court:                    same as above
                                   other state or federal court (name and address):
      d. Department: 71
      e. Case type:                    limited civil     unlimited civil         probate        family law             other (specify):
      f.     Filing date: April 11, 2024
      g. Has this case been designated or determined as "complex?"                           Yes         No
      h. Relationship of this case to the case referenced above (check all that apply):
                     involves the same parties and is based on the same or similar claims.

                     arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.
                     involves claims against, title to, possession of, or damages to the same property.
                     is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                               Additional explanation is attached in attachment 1h
      i.     Status of case:
                     pending
                     dismissed                  with         without prejudice
                     disposed of by judgment

2.    a. Title:

      b. Case number:
      c. Court:                    same as above
                                   other state or federal court (name and address):
      d. Department:

                                                                                                                                                        Page 1 of 3
Form Approved for Optional Use                                                                                                       Cal. Rules of Court, rule 3.300
  Judicial Council of California                             NOTICE OF RELATED CASE                                                           www.courtinfo.ca.gov
  CM-015 [Rev. July 1, 2007]
            Case 2:24-cv-04735-DMG-MAR                           Document 1-1            Filed 06/05/24                 Page 80 of 101 Page
                                                                      ID #:93
                                                                                                                                              CM-015
      PLAINTIFF/PETITIONER:            Craig M. Garriott                                                    CASE NUMBER:
                                                                                                            24STCV09031
     DEFENDANT/RESPONDENT: The Boeing Company, et al.

2. (continued)
            e. Case type:            limited civil          unlimited civil         probate            family law          other (specify):
            f. Filing date:
            g. Has this case been designated or determined as "complex?"                       Yes                 No
            h. Relationship of this case to the case referenced above (check all that apply):
                         involves the same parties and is based on the same or similar claims.
                         arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                         the same or substantially identical questions of law or fact.

                         involves claims against, title to, possession of, or damages to the same property.
                         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                                Additional explanation is attached in attachment 2h
            i. Status of case:
                        pending
                        dismissed              with            without prejudice
                        disposed of by judgment

3.     a. Title:
       b. Case number:
       c. Court:               same as above
                               other state or federal court (name and address):
       d. Department:
       e. Case type:               limited civil            unlimited civil         probate           family law           other (specify):
       f.    Filing date:
       g. Has this case been designated or determined as "complex?"                           Yes             No
       h. Relationship of this case to the case referenced above (check all that apply):
                     involves the same parties and is based on the same or similar claims.

                     arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.

                     involves claims against, title to, possession of, or damages to the same property.
                     is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                              Additional explanation is attached in attachment 3h
       i.    Status of case:
                     pending
                     dismissed             with             without prejudice
                     disposed of by judgment

4.              Additional related cases are described in Attachment 4. Number of pages attached:



Date: June 4, 2024

Catherine L. Hazany                                                             
                (TYPE OR PRINT NAME OF PARTY OR ATTORNEY)                                           (SIGNATURE OF PARTY OR ATTORNEY)




CM-015 [Rev. July 1, 2007]                                  NOTICE OF RELATED CASE                                                            Page 2 of 3
        Case 2:24-cv-04735-DMG-MAR                         Document 1-1            Filed 06/05/24           Page 81 of 101 Page
                                                                ID #:94
                                                                                                                                      CM-015
                                                                                                   CASE NUMBER:
      PLAINTIFF/PETITIONER:          Craig M. Garriott
                                                                                                   24STCV09031
     DEFENDANT/RESPONDENT: The Boeing Company, et al.


                                                   PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                          NOTICE OF RELATED CASE
(NOTE: You cannot serve the Notice of Related Case if you are a party in the action. The person who served the notice must
complete this proof of service. The notice must be served on all known parties in each related action or proceeding.)

1.    I am at least 18 years old and not a party to this action. I am a resident of or employed In the county where the mailing took
      place, and my residence or business address is (specify):



2.    | served a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully
      prepaid and (check one):
      a.           deposited the sealed envelope with the United States Postal Service.
      b.           placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                   with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                   deposited in the ordinary course of business with the United States Postal Service.

3.    The Notice of Related Case was mailed:
      a. on (date):
      b. from (city and state):

4. The envelope was addressed and mailed as follows:


      a. Name of person served:                                     c. Name of person served:

           Street address:                                             Street address:

           City:                                                       City:
           State and zip code:                                         State and zip code:


      b. Name of person served:                                     d. Name of person served:


           Street address:                                             Street address:
           City:                                                       City:
           State and zip code:                                         State and zip code:



        Names and addresses of additional persons served are attached. (You may use form POS-030(P).)

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:



                                                                       
               (TYPE OR PRINT NAME OF DECLARANT)                                           (SIGNATURE OF DECLARANT)




CM-015 [Rev. July 1, 2007]                              NOTICE OF RELATED CASE                                                        Page 3 of 3
                Case 2:24-cv-04735-DMG-MAR               Document 1-1        Filed 06/05/24     Page 82 of 101 Page
                                                              ID #:95


                      1                                      PROOF OF SERVICE
                                                   Craig M Garriott v. The Boeing Company, et al.
                      2                                      Case No. 24STCV09031
                      3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
                          action in which this service is made. At all times herein mentioned I have been employed in the
                      4   County of Los Angeles in the office of a member of the bar of this court at whose direction the
                          service was made. My business address is 19191 S. Vermont Avenue, Suite 950, Torrance, CA
                      5   90502.

                      6          On June 4, 2024, I served the following document(s):

                      7                                    NOTICE OF RELATED CASE

                      8   by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as stated on the
                          attached service list.
                      9
                          ☐      BY MAIL: I placed the envelope for collection and mailing, following our ordinary
                    10           business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
                                 Smoak & Stewart, P.C.’s practice for collecting and processing correspondence for mailing.
                    11           On the same day that correspondence is placed for collection and mailing, it is deposited in
                                 the ordinary course of business with the United States Postal Service, in a sealed envelope
                    12           with postage fully prepaid.

                    13    ☐      BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s) designated
                                 by the express service carrier for collection and overnight delivery by following the
                    14           ordinary business practices of Ogletree, Deakins, Nash, Smoak & Stewart P.C., Torrance,
                                 California. I am readily familiar with Ogletree, Deakins, Nash, Smoak & Stewart P.C.’s
                    15           practice for collecting and processing of correspondence for overnight delivery, said
                                 practice being that, in the ordinary course of business, correspondence for overnight
                    16           delivery is deposited with delivery fees paid or provided for at the carrier’s express service
                                 offices for next-day delivery.
                    17
                          ☐      BY MESSENGER SERVICE: (1) For a party represented by an attorney, delivery was
                    18           made to the attorney or at the attorney’s office by leaving the documents in an envelope or
                                 package clearly labeled to identify the attorney being served with a receptionist or an
                    19           individual in charge of the office. (2) For a party, delivery was made to the party or by
                                 leaving the documents at the party’s residence with some person not less than 18 years of
                    20           age between the hours of eight in the morning and six in the evening.

                    21    ☒      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                                 agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                    22           documents to be sent to the person(s) at the e-mail addresses listed on the attached service
                                 list. I did not receive, within a reasonable time after the transmission, any electronic
                    23           message or other indication that the transmission was unsuccessful.

                    24    ☒      (State)        I declare under penalty of perjury under the laws of the State of California
                                                that the above is true and correct.
                    25
                                 Executed on June 4, 2024, at Torrance, California.
                    26

                    27
                                                                                CAROLINA MARTIS
                    28
O GLETREE , D EAKI NS ,
  N ASH , S M OAK &
   S TEWART , P.C.                                                          4
                                                                 PROOF OF SERVICE
                Case 2:24-cv-04735-DMG-MAR         Document 1-1   Filed 06/05/24      Page 83 of 101 Page
                                                        ID #:96


                      1                                    SERVICE LIST
                      2

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   S TEWART , P.C.                                                5
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                                                 10

                                                 11                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
SANSANOWICZ LAW GROUP, P.C.




                                                 12                FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                                                 13
                              Attorneys at Law




                                                 14 KATHY MOONITZ, an individual,                     UNLIMITED JURISDICTION
                                                 15                                                   PLAINTIFF’S COMPLAINT FOR
                                                                               Plaintiff,
                                                                                                      DAMAGES FOR:
                                                 16
                                                            vs.                                       1. WHISTLEBLOWER RETALIATION IN
                                                 17                                                      VIOLATION OF LABOR CODE §
                                                                                                         1102.5(h);
                                                 18                                                   2. INJUNCTIVE RELIEF/DECLARATORY
                                                    THE BOEING COMPANY, a Delaware
                                                 19 corporation, NINA MATTERA, an                        JUDGMENT; AND
                                                                                                      3. DEFAMATION PER SE.
                                                    individual, and DOES 1 to 100, inclusive,
                                                 20
                                                                                                    DEMAND FOR JURY TRIAL
                                                 21                        Defendants.

                                                 22

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                                                                                            COMPLAINT FOR DAMAGES
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                                                  1             COMES NOW Plaintiff Kathy Moonitz (Plaintiff or “Ms. Moonitz”) for causes of action

                                                  2 against The Boeing Company (“Boeing”), DOES 1 to 100 inclusive (collectively with Boeing,

                                                  3 “Employer Defendants”), and Nina Mattera (“Mattera”) (collectively with Employer Defendants,

                                                  4 “Defendants”), alleging as follows:

                                                  5                                            NATURE OF THE ACTION

                                                  6             1.       This is a complaint brought under the California Labor Code as well as common law

                                                  7 principles, for whistleblower retaliation and defamation per se. Plaintiff seeks compensatory,

                                                  8 general, and punitive damages, injunctive and declaratory relief, attorney’s fees, and costs of suit

                                                  9 from Defendants.

                                                 10             2.       Plaintiff1 and Defendants executed a tolling agreement effective October 5, 2023,

                                                 11 mutually agreeing to toll all statutes of limitations that were viable as of the commencement of the
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                                                 12 tolling period through and including the sixtieth day after mediation. The parties attended mediation

                                                 13 on February 12, 2024. The parties’ Tolling Agreement is attached hereto as Exhibit A.
                              Attorneys at Law




                                                 14                                                        PARTIES
                                                 15             3.       Plaintiff Kathy Moonitz is, and at all times relevant was, an individual residing in
                                                 16 Los Angeles County, California. Since approximately December 2021, Ms. Moonitz has been

                                                 17 employed by Employer Defendants as a Quality Inspector.

                                                 18             4.       Defendant The Boeing Company (“Boeing”) is, and at all times relevant was, a
                                                 19 Delaware corporation that employed Plaintiff and others in California, whose principal place of

                                                 20 business is 1950 E. Imperial Highway, El Segundo, CA 90245.

                                                 21             5.       Defendant Nina Mattera (“Mattera”) is, and at all times relevant was, an individual
                                                 22 residing in Los Angeles County, California. During the relevant period, Mattera was Manager of

                                                 23 Propulsion Area and reported to Ben Kroeter, Director of Operations for Boeing El Segundo

                                                 24 (Aerospace) (“Kroeter”), and Karl Gaugel (Assistant Director of Operations) (“Gaugel”).

                                                 25             6.       Plaintiff currently is unaware of the true names of the defendants sued herein as
                                                 26

                                                 27
                                                      1
                                                          Plaintiff is listed as “Kathy Garriott” in the Tolling Agreement in recognition of the fact that she is married
                                                 28 to Craig Garriott, whom Defendants retaliated against, infra, and whose whistleblowing activities caused
                                                      Defendants to retaliate against Plaintiff. She brings this lawsuit under the name that is on her paystubs.
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                                                  1 Does 1 through 100, inclusive. Plaintiff sues said defendants by said fictitious names and will

                                                  2 amend this complaint when the true names and capacities are ascertained or when such facts

                                                  3 pertaining to liability are ascertained, or as permitted by law or by the Court. Plaintiff is informed

                                                  4 and believes, and thereon alleges, that each of the fictitiously named defendants is in some manner

                                                  5 responsible for the events and allegations set forth in this complaint. Plaintiff is informed and

                                                  6 believes, and thereon alleges, that Does 1 through 100 are the partners, joint employers, agents,

                                                  7 owners, shareholders, directors, members, officers, managers, or employees of The Boeing

                                                  8 Company. Plaintiff is informed and believes, and thereon alleges, that at all relevant times, each

                                                  9 defendant was an employer, principal, agent, manager, partner, joint venturer, officer, director,

                                                 10 controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest and/or

                                                 11 predecessor in interest of some or all of the other Employer Defendants, and was engaged with
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                                                 12 some or all of the other Employer Defendants in a joint enterprise for profit, and bore such other

                                                 13 relationships to some or all of the other defendants so as to be liable for their conduct with respect
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                                                 14 to the matters alleged in this complaint. Plaintiff is informed and believes, and thereon alleges, that

                                                 15 each defendant acted pursuant to and within the scope of the relationships alleged above, and that at

                                                 16 all relevant times, each defendant did, knew or should have known about, authorized, ratified,

                                                 17 adopted, approved, controlled, or aided and abetted the conduct of all other Employer Defendants,

                                                 18 which proximately caused the damages herein alleged. Plaintiff is informed and believes, and

                                                 19 thereon alleges, that each of said defendants is in some manner intentionally, negligently, willfully,

                                                 20 or otherwise responsible for the acts, omissions, occurrences, and transactions alleged herein.

                                                 21          7.     Plaintiff further is informed and believes, and thereon alleges, that each and all of the

                                                 22 acts and omissions alleged herein was performed by, or is attributable to, Boeing, Mattera, and/or

                                                 23 Does 1 through 100, each acting as the agent, employee, alter ego, and/or joint venturer of, or

                                                 24 working in concert with, each of the other co-defendants and was acting within the course and scope

                                                 25 of such agency, employment, joint venture, or concerted activity with legal authority to act on the

                                                 26 others’ behalf. The acts of any and all Defendants were in accordance with, and represent, the

                                                 27 official policy and practice of The Boeing Company.

                                                 28          8.     The Boeing Company, and the business entities sued as Does 1 through 100

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                                                  1 (collectively, “Employer Defendants”), were and are Plaintiff’s employers. Under California law,

                                                  2 Employer Defendants are jointly and severally liable as employers, or other persons acting on

                                                  3 behalf of Employer Defendants, for violating, or causing to be violated, the violations alleged herein

                                                  4 because they have each exercised sufficient control over the terms, wages, hours, working

                                                  5 conditions, and/or employment of Plaintiff. Each Employer Defendant had the power to hire and

                                                  6 fire Plaintiff and other employees, to supervise and control their work schedules and/or conditions

                                                  7 of employment, to determine their rates of pay, and the right to control how or if Plaintiff and other

                                                  8 employees were paid for time worked. Employer Defendants suffered or permitted Plaintiff to work

                                                  9 and/or engaged Plaintiff and others to create a common law employment relationship. As joint

                                                 10 employers of Plaintiff, Employer Defendants are jointly and severally liable for the damages and all

                                                 11 other relief available to Plaintiff as alleged herein.
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                                                 12                                          JURISDICTION AND VENUE

                                                 13          9.      Jurisdiction for this matter lies properly with this Court because the monetary
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                                                 14 damages sought by Plaintiff exceed the minimal jurisdiction limits of the Superior Court and will be

                                                 15 established according to proof at trial. This Court also has jurisdiction over this action pursuant to

                                                 16 the California Constitution, Article VI, § 10.

                                                 17          10.     This Court also has jurisdiction in this matter because throughout her employment,
                                                 18 Plaintiff has been a California citizen, as is Defendant Mattera. Further, there is no federal question

                                                 19 at issue, as the issues herein are based solely on California statutes and law.

                                                 20          11.     Venue is proper in this Court because Employer Defendants employ persons,
                                                 21 including Plaintiff, in this county, and thus a substantial portion of the transactions and occurrences

                                                 22 related to this action occurred in this county. (CCP § 395.) Moreover, the principal violations of

                                                 23 California law occurred in California, and the conduct of all Defendants which form the basis for

                                                 24 Plaintiff’s claims occurred within or arose out of California and within this county.

                                                 25                                       GENERAL ALLEGATIONS
                                                 26          12.     Plaintiff incorporates by reference and re-alleges paragraphs 1 through 11, inclusive,
                                                 27 as if fully set forth herein.

                                                 28          13.     Ms. Moonitz has been employed by Employer Defendants as a Quality Inspector

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                                                  1 since approximately December 2021. As Quality Inspector, she is responsible for reviewing the

                                                  2 work technicians do. Defendant Mattera works in the same physical area as Ms. Moonitz does.

                                                  3             14.      In September 2022, Mattera retaliated against Ms. Moonitz because of the protected

                                                  4 actions taken by Ms. Moonitz’s husband, Craig Garriott, who is also employed by Employer

                                                  5 Defendants. Craig Garriott began working at Boeing around May 1997. He has worked as an

                                                  6 antennae technician and an aero vehicle technician, mostly as an aero vehicle technician. He

                                                  7 became a shop steward of the United Brotherhood of Carpenters and Joiners of America (“Union”)

                                                  8 beginning in 2007 and became a senior shop steward around 2012. Mr. Garriott took a “leave” from

                                                  9 Boeing in 2017 and became a Business Agent for the Union from 2017 to 2022, during which time

                                                 10 his Boeing position was placed on hold. In 2022, he returned to Boeing full-time and assumed the

                                                 11 role of senior shop steward. Mr. Garriott’s job, both for the Union and for Boeing upon his return,
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                                                 12 was to file grievances with the Union on behalf of union workers employed by Boeing. After

                                                 13 returning to Boeing, Mr. Garriott became Focal Steward at Boeing and then Chief Focal Steward,
                              Attorneys at Law




                                                 14 overseeing the Focal Stewards at both Boeing and Millennium.

                                                 15             15.      In 2022, Mr. Garriottt was made aware by the Union that Defendant Mattera had

                                                 16 used her position at Boeing to purchase a $10 million propellant system from a company owned by

                                                 17 a family friend of hers and then hired the child of the head of that company to her (Mattera’s team)

                                                 18 at Boeing. Mr. Garriott reasonably suspected this type of “pay to play” nepotism violated any

                                                 19 number of anti-kickback, bribery, or corruption laws,2 including but not limited to California Penal

                                                 20 Code section 641.3. Mr. Garriott also reasonably believed Mattera’s conduct violated Boeing’s own

                                                 21 Code of Conduct3 (both for its own employees and its suppliers)4 as unethical conduct.5 He knew

                                                 22

                                                 23   2
                                                          Boeing’s Compliance and Ethics webpage (available here: https://www.boeing.com/principles/ethics-and-
                                                 24 compliance.page) provides, “ Boeing strictly forbids bribery and corruption of any kind… Retaliation against
                                                      reporting parties is strictly prohibited, and action is taken against violators of anti-retaliation policies.”
                                                 25
                                                      3
                                                          The Boeing Code of Conduct specifically requires, “I will not engage in any activity that creates a conflict
                                                 26 of interest for me or the company.” It further provides, “I will promptly report any illegal, improper, or
                                                      unethical conduct to my management or through other appropriate channels.”
                                                 27
                                                      4
                                                          The Boeing Supplier Code of Conduct requires, “We expect suppliers to prohibit their employees from
                                                 28 receiving, paying, and/or promising sums of money or anything of value, directly or indirectly, intended to
                                                      exert undue influence or improper advantage.” Specifically, as per conflicts of interest, the policy provides,
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                                                  1 such quid pro quo dealing needed to be investigated and reported, to avoid even the appearance of

                                                  2 impropriety.6

                                                  3             16.      Mr. Garriott reported Mattera’s conduct to Maryanne Koser (Head of HR – El

                                                  4 Segundo) and David Young (Head of Labor Relations – El Segundo) around September 2022. He

                                                  5 specifically requested his name be kept out of the complaint as Ms. Moonitz worked near Mattera

                                                  6 and Mattera was known to be retaliatory. Despite this request, shortly after Mr. Garriott reported

                                                  7 Mattera to management, Mattera retaliated against Mr. Garriott by trying to have Ms. Moonitz

                                                  8 replaced with a different inspector.

                                                  9             17.     Around mid-September, during a meeting with her bosses, Kroeter and Gaugel (who

                                                 10 also are the bosses of Ms. Moonitz’s direct boss), Mattera falsely accused Ms. Moonitz of having

                                                 11 incorrectly purchased certain metals for the purpose of welding them to the satellites Boeing was
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                                                 12 manufacturing (“welds”), which Mattera alleged had cost the company a lot of money. In fact, Ms.

                                                 13 Moonitz had not done what Mattera accused her of having done. However, the implication from
                              Attorneys at Law




                                                 14 Mattera’s statement to Kroeter and Gaugel was that Ms. Moonitz was incompetent at her job and

                                                 15 that the supposed mistake would render the product completely unworkable. Mattera made the

                                                 16 statement as a matter of fact, not opinion, and intended to cause harm to Ms. Moonitz because of

                                                 17 her association with Mr. Garriott.

                                                 18             18.     Mattera’s statement proved to be false, as Ms. Moonitz’s boss reviewed her work

                                                 19

                                                 20

                                                 21 “We expect suppliers to avoid all conflicts of interest or situations that give rise to the appearance of a
                                                      potential conflict of interest. Suppliers must provide immediate notification to all affected parties in the event
                                                 22   that an actual or potential conflict of interest arises. This includes a conflict between Boeing’s interests and
                                                      the interests of a supplier, a supplier’s employees or its employees’ close relatives, friends, or associates.”
                                                 23   5
                                                          A 2021 Global Business Ethics Survey Report (linked from the Boeing website, and available here:
                                                 24 https://www.ethics.org/global-business-ethics-survey/) shows that from 2017 to 2020, observed conflicts of
                                                      interest in the workplace rose 8%, from 15% to 23% of all observed ethical misconduct, with a higher jump
                                                 25 of observed conflicts of interest at the management level, from 22% to 38%, or a 16% increase.

                                                 26   6
                                                        Boeing’s Company Procedure PRO-7 mandates, “An actual conflict of interest does not need to be present
                                                      to constitute a violation of this procedure. Activities that create the appearance of a conflict of interest must
                                                 27   also be avoided to ensure that the reputation of Boeing and its employees is not harmed.” Moreover,
                                                      Boeing’s Ethical Business Conduct Guidelines further provides, “Examples of conflicts of interest include,
                                                 28   but are not limited to: Personal relationships with employees of other business entities that could influence an
                                                      employee’s decision concerning the selection of a supplier or its products.”
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                                                  1 and determined she had not done anything wrong.

                                                  2          19.     After Mattera’s meeting with her bosses, and despite having had her claim against

                                                  3 Ms. Moonitz refuted, Mattera continued her retaliatory campaign against Ms. Moonitz well into

                                                  4 October 2022 and beyond, including but not limited to trying to have Ms. Moonitz replaced with a

                                                  5 different quality inspector; having work taken away from Ms. Moonitz; and having management

                                                  6 withhold information that Ms. Moonitz needed to be able to perform her job properly.

                                                  7          20.     Another inspector was brought in to replace Ms. Moonitz. He told her that based on

                                                  8 his considerable experience in the field, she had done a good job and had not done anything wrong,

                                                  9 certainly not what she was being accused of. Ultimately, Ms. Moonitz was allowed to keep her job.

                                                 10          21.     Nevertheless, shortly after the Mattera complaint, Ms. Moonitz suffered increased

                                                 11 scrutiny from other managers in the area. She received less work, and management stopped
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                                                 12 discussing with her what was going on with the satellites, which she needed to be able to perform

                                                 13 her job properly.
                              Attorneys at Law




                                                 14          22.     After the Mattera complaint, other workers in Ms. Moonitz’s area reported having

                                                 15 seen emails that, in effect, said Ms. Moonitz was a poor worker or did bad work.

                                                 16          23.     Ms. Moonitz continues to suffer emotional distress, including but not limited to the

                                                 17 fear of future reprisals.

                                                 18          24.     In addition, the stress of the above retaliation has taken its toll on Ms. Moonitz’s

                                                 19 marriage to Mr. Garriott. They have only been married since 2021 yet have been separated several

                                                 20 times since 2023 and have spent much of their marriage trying to reconcile these separations.

                                                 21                                      FIRST CAUSE OF ACTION

                                                 22     WHISTLEBLOWER RETALIATION, IN VIOLATION OF LABOR CODE § 1102.5(h)

                                                 23                             (By Plaintiff Against Employer Defendants)

                                                 24          25.     Plaintiff incorporates by reference and re-alleges the allegations contained in

                                                 25 paragraphs 1 through 24, inclusive, as though fully set forth herein.

                                                 26          26.     At all relevant times, Labor Code section 1102.5, subdivision (h), was in full force

                                                 27 and effect and was binding on Employer Defendants. Subdivision (h) provides in relevant part, “An

                                                 28 employer, or a person acting on behalf of the employer, shall not retaliate against an employee

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                                                  1 because the employee is a family member of a person who has, or is perceived to have, engaged in

                                                  2 any acts protected by this section.”

                                                  3          27.     Mattera retaliated against Ms. Moonitz solely because Ms. Moonitz was the wife of

                                                  4 an employee who engaged in, or who Employer Defendants perceived to have engaged in, protected

                                                  5 whistleblowing activities, including against Mattera’s illicit conduct.

                                                  6          28. As a proximate result of the wrongful conduct of Defendants, and each of them, Ms.

                                                  7 Moonitz has suffered and continues to sustain actual damages, including but not limited to costs of

                                                  8 suit and other pecuniary loss in an amount not presently ascertained but to be proven at trial.

                                                  9          29. As a further proximate result of the wrongful conduct of Defendants, and each of them,

                                                 10 Ms. Moonitz has suffered emotional and mental distress, anguish, humiliation, shame,

                                                 11 embarrassment, fright, shock, pain, discomfort, and anxiety, in an amount according to proof at the
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                                                 12 time of trial.

                                                 13          30.     The actions of Defendants as alleged herein were carried out with malice, willfulness
                              Attorneys at Law




                                                 14 and/or reckless indifference to Ms. Moonitz’s rights, with full knowledge of their unlawfulness, and

                                                 15 with the intent to deprive Ms. Moonitz of rights guaranteed under the law. Ms. Moonitz is entitled

                                                 16 to punitive damages for the purpose of deterring such unlawful, malicious, oppressive and/or

                                                 17 reckless conduct. Defendants’ conduct described herein was engaged in by officers, directors,

                                                 18 and/or managing agents for Employer Defendants and/or ratified by officers, directors, and/or

                                                 19 managing agents.

                                                 20          31.     As a result of these Defendants’ conduct as alleged herein, Plaintiff is entitled to an

                                                 21 award of reasonable attorney’s fees pursuant to Labor Code section 1102.5, subdivision (j). Plaintiff

                                                 22 is further entitled to costs of suit as provided for in Code of Civil Procedure section 1021.5.

                                                 23                                     SECOND CAUSE OF ACTION

                                                 24                       INJUNCTIVE RELIEF/DECLARATORY JUDGMENT

                                                 25                              (By Plaintiff Against Employer Defendants)

                                                 26          32.     Plaintiff incorporates by reference and re-alleges the allegations contained in

                                                 27 paragraphs 1 through 31, inclusive, as though fully set forth herein.

                                                 28          33.     California Labor Code section 1102.5 “reflects the broad public policy interest in

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                                                  1 encouraging workplace whistle-blowers to report unlawful acts without fearing retaliation.” Green

                                                  2 v. Ralee Eng’g Co. (1998) 19 Cal.4th 66, 77 (affirmed by Lawson v. PPG Architectural Finishes,

                                                  3 Inc. (2022) 12 Cal.5th 703, 709).

                                                  4          34.     An actual controversy has arisen and now exists between Plaintiff and Employer

                                                  5 Defendants concerning the parties’ respective rights and duties, as it is believed that Employer

                                                  6 Defendants may contend that they did not retaliate against Ms. Moonitz because her husband blew

                                                  7 the whistle on what he reasonably believed was illegal conduct. Plaintiff, by contrast, alleges that

                                                  8 Employer Defendants did in fact retaliate against her for her husband’s whistleblowing activity.

                                                  9 Plaintiff therefore is informed and believes, and on that basis alleges, that Employer Defendants

                                                 10 will dispute Plaintiff’s whistleblower retaliation cause of action.

                                                 11          35.     Pursuant to California Code of Civil Procedure section 1060, Plaintiff seeks a
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                                                 12 judicial determination of Plaintiff’s rights and Employer Defendants’ duties, and a declaration that

                                                 13 Employer Defendants retaliated against Plaintiff because of her husband’s protected whistleblowing
                              Attorneys at Law




                                                 14 activity. In so doing, Plaintiff seeks a judicial determination and declaration that Employer

                                                 15 Defendants’ retaliation against Plaintiff for her husband’s whistleblowing activities was a

                                                 16 contributing factor in the decisions to take adverse employment actions against her.

                                                 17          36.     Pursuant to California Labor Code sections 1102.61 and 1102.62, Plaintiff petitions

                                                 18 the Court for injunctive relief until a judicial determination has been issued, or at a time certain set

                                                 19 by the Court, to enjoin Employer Defendants from further retaliating against Plaintiff for her

                                                 20 husband’s protected whistleblower activity.

                                                 21          37.     A judicial determination is necessary and appropriate so that Plaintiff, on her own

                                                 22 behalf and on behalf of other employees in the State of California, and in conformity with the public

                                                 23 policy of the State, may obtain a judicial declaration of Employer Defendants’ wrongdoing and to

                                                 24 prospectively condemn such retaliatory employment policies and/or practices.

                                                 25          38.     A judicial determination also is necessary and appropriate so that Employer

                                                 26 Defendants may be aware of their obligations under the law to not retaliate against employees who

                                                 27 blow the whistle (or who are the family members of employees who blow the whistle or are

                                                 28 perceived to have blown the whistle) on what the whistleblowing employees reasonably believe is a

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                                                  1 violation of state or federal statute or a violation of or noncompliance with a local, state, or federal

                                                  2 rule or regulation. Such relief is necessary because other employees of Employer Defendants will be

                                                  3 irreparably harmed if the above-described retaliation is allowed to continue.

                                                  4          39.     Plaintiff is entitled to recover prevailing party reasonable attorney’s fees pursuant to

                                                  5 Labor Code section 1102.5, subdivision (j), to redress, prevent, or deter retaliation.

                                                  6                                      THIRD CAUSE OF ACTION

                                                  7                                        DEFAMATION PER SE

                                                  8                                  (By Plaintiff Against All Defendants)

                                                  9          40.     Plaintiff incorporates by reference and re-alleges the allegations contained in

                                                 10 paragraphs 1 through 39, inclusive, as though fully set forth herein.

                                                 11          41.     Defendants and/or their agents or employees made false statements of fact to other
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                                                 12 individuals, which tended to injure Plaintiff directly in her occupation, including but not limited to

                                                 13 such things as that Plaintiff was incompetent at her job and unnecessarily cost the company money
                              Attorneys at Law




                                                 14 because of her incompetence.

                                                 15          42.     Defendants and/or their agents or employees made false and libelous accusations,

                                                 16 impugning Plaintiff’s honesty, integrity, and competence in her occupation, despite knowing the

                                                 17 statements were false.

                                                 18          43.     Such libelous and/or slanderous publications were republished multiple times over

                                                 19 by Defendants and/or their agents or employees.

                                                 20          44.     When Defendants made the aforementioned statements, Defendants deliberately and

                                                 21 intentionally communicated false and damaging statements, knowing that the statements would

                                                 22 seriously injure Plaintiff’s professional reputation.

                                                 23          45.     The defamatory statements were understood to be assertions of fact, not opinion.

                                                 24          46.     Within one year of the date this lawsuit was filed, Plaintiff has been or will have

                                                 25 been forced to self-publish the false and defamatory reason(s) she was disciplined either to

                                                 26 prospective employers (who, as a matter of course, asked or will ask about Plaintiff’s employment

                                                 27 with Employer Defendants), or internally within Employer Defendants themselves. At the time

                                                 28 they were made, it was reasonably foreseeable that the defamatory statements would be repeated to

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                                                  1 prospective employers or internally within Employer Defendants.

                                                  2          47.     Each of these false defamatory per se publications were negligently, recklessly, and

                                                  3 intentionally published in a manner equaling malice and abuse of any alleged conditional privilege

                                                  4 (which Plaintiff denies existed), since the publications, and each of them, were made with hatred,

                                                  5 ill will, and an intent to vex, harass, annoy, and injure Plaintiff in order to justify the illegal and

                                                  6 cruel actions of Defendants, and each of them, to cause further damage to Plaintiff’s professional

                                                  7 and personal reputations, to cause Plaintiff to be disciplined, or to justify disciplining Plaintiff.

                                                  8          48.     Defendants, and each of them, lacked reasonable ground for belief in the truth of the

                                                  9 defamatory statements and thereafter acted in reckless disregard of Plaintiff’ rights.

                                                 10          49.     The above complained-of publications by all Defendants, and each of them, were

                                                 11 made with hatred and ill will towards Plaintiff and the design and intent to injure Plaintiff,
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                                                 12 Plaintiff’s good name, her reputation, her employment, and/or her employability. Defendants, and

                                                 13 each of them, published these statements, not with an intent to protect any interest intended to be
                              Attorneys at Law




                                                 14 protected by any privilege, but with negligence, recklessness, and/or an intent to injure Plaintiff

                                                 15 and destroy her reputation. Therefore, no privilege existed to protect any of the Defendants from

                                                 16 liability for any of these publications or republications.

                                                 17          50.     Plaintiff is informed, believes, and fears that these false and defamatory per se

                                                 18 statements will continue to be published by Defendants, and each of them, and will be foreseeably

                                                 19 republished by their recipients, all to the ongoing harm and injury to Plaintiff’s professional and/or

                                                 20 personal reputation. Plaintiff also seeks redress in this action for all foreseeable republications,

                                                 21 including her own compelled self-publication of these defamatory statements.

                                                 22          51.     As a proximate result of Defendants’ conduct, Plaintiff has suffered and continues

                                                 23 to suffer either losses in earnings and other employment and retirement benefits, or embarrassment,

                                                 24 humiliation, and mental anguish, all to her damage in an amount according to proof.

                                                 25          52.     The actions or inactions of these Defendants as alleged herein were carried out with

                                                 26 malice, willfulness and/or reckless indifference to Plaintiff’s rights, with full knowledge of their

                                                 27 unlawfulness, and with the intent to deprive Plaintiff of rights guaranteed to her under the law.

                                                 28 Plaintiff is entitled to punitive damages for the purpose of deterring such unlawful, malicious,

                                                                                                    - 10 -
                                                                                            COMPLAINT FOR DAMAGES
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                                                  1 oppressive and/or reckless conduct. Defendants’ conduct described herein was engaged in by

                                                  2 officers, directors, and/or managing agents for Employer Defendants and/or ratified by officers,

                                                  3 directors, and/or managing agents.

                                                  4                                            PRAYER FOR RELIEF

                                                  5          WHEREFORE, Plaintiff pray for judgment as follows:

                                                  6     1.   For an award of general damages in an amount to be proven at trial;

                                                  7     2.   For an award of special damages in an amount to be proven at trial, including past and

                                                  8     future lost income and benefits and interest thereon;

                                                  9     3.   For an award of punitive damages in an amount appropriate to punish Defendants and to

                                                 10     make an example of Defendants to the community;

                                                 11     4.   For pre-judgment interest at the prevailing legal rate;
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                                                 12     5.   For declaratory and injunctive relief, including but not limited to an order requiring

                                                 13     Defendants to immediately comply with all local, State, and federal laws, rules, and/or
                              Attorneys at Law




                                                 14     regulations regarding retaliation against employees for engaging in protected whistleblowing

                                                 15     activities;

                                                 16     6.   For reasonable attorney’s fees and costs; and

                                                 17     7.   For such other and further relief as this Court deems just and proper.

                                                 18                                      DEMAND FOR JURY TRIAL

                                                 19          Plaintiff hereby request a jury trial on the claims so triable.

                                                 20   Dated: April 11, 2024                             SANSANOWICZ LAW GROUP, P.C.
                                                                                                        M LAW ATTORNEYS, APC
                                                 21

                                                 22                                                By
                                                                                                        Leonard H. Sansanowicz, Esq.
                                                 23                                                     Narak Mirzae, Esq.
                                                 24                                                     Attorneys for Plaintiff Kathy Moonitz

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                                                                                           COMPLAINT FOR DAMAGES
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          EXHIBIT A
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                                    TOLLING AGREEMENT

        This Tolling Agreement (“Agreement”) is made and entered into as of October 5, 2023
 (“Effective Date”), by and between Craig Garriott and Kathy Garriott (collectively, “Plaintiffs”)
 and The Boeing Company (“Boeing”), Millennium Space Systems, Inc., Jennifer Burina, Nina
 Matera, and Calinda Starr (collectively, “Defendants”).

        WHEREAS, a dispute has arisen between Plaintiffs and Defendants;

         WHEREAS, Plaintiffs forwarded correspondence to Defendant Boeing about the dispute,
 including draft complaints to be filed by Craig Garriott and Kathy Garriott should the parties not
 agree to resolve their disputes informally, and Boeing received such correspondence on April 14,
 2023;

         WHEREAS, Plaintiffs and Defendants have been involved in discussions and negotiations
 to potentially resolve the dispute without the necessity and expense of litigation;

         WHEREAS, the discussions between Plaintiffs and Defendants will not be concluded
 before the expiration of the statute of limitations of at least some of Plaintiffs’ rights;

      WHEREAS, the Parties have now agreed to private mediation, which will take place on
 November 16, 2023, or a date shortly thereafter (pending the mediator’s availability);

        WHEREAS, the Parties wish to allow sufficient time for the mediation and any post-
 mediation discussions and/or negotiations to take place before Plaintiffs file their civil actions;

         WHEREAS, by entering into this Agreement, Defendants do not intend to resurrect any
 claims that are time-barred prior to the Effective Date of this Agreement.

         THEREFORE, Plaintiffs and Defendant agree by and through their counsel to toll any
 applicable statute of limitations from the Effective Date of this Agreement until sixty (60) days
 after the mediation (the “Tolling Period”), to allow the Parties to continue discussions and
 negotiations and possibly resolve the dispute before Plaintiffs file civil lawsuits. The terms and
 conditions of the Agreement are as follows:

         1. Scope of Agreement/No Admission of Liability. This Agreement operates to toll any
 and all statutes of limitations and time constraints imposed by law on Plaintiffs’ claims during the
 Tolling Period. This Agreement shall not be construed as an admission of liability or be offered
 in evidence in any proceeding other than to prove that any applicable statute of limitations were
 tolled during the Tolling Period.
         2. Tolling Period. This Agreement shall be in effect from the “Effective Date” through
 and including the sixtieth (60th) day after mediation (the “Tolling Period”), all applicable statutes
 of limitations that were viable as of the commencement of the Tolling Period shall be tolled and
 suspended.
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         3. Waiver During Tolling Period. Defendants hereby waive any applicable statute of
 limitations defenses that would otherwise arise during the Tolling Period. Defendants do not
 waive any statute of limitations defense, or any other claims or defenses available prior to the
 Tolling Period or after the Tolling Period expires.
        4. Action Initiated During Tolling Period. During the Tolling Period, Plaintiffs may
 file complaints or initiate any other legal proceeding against Defendants relating to Plaintiffs’
 employment.
         5. Termination Before Expiration Date. Defendants may terminate this Agreement at
 any time by providing a notice of intent to terminate in writing, sent via email and via overnight
 delivery service to Plaintiffs’ counsel. The termination date shall be 30 days from the date of the
 notice of intent.
        6. Substantive Law. This Agreement shall be interpreted in accordance with the
 substantive law of the State of California, without application of choice of law rules.
         7. Copies of Tolling Agreement Valid. This Agreement may be executed in one or more
 original or counterparts. A signed document transmitted via facsimile or email shall be valid.


          October 9, 2023
 Dated: _____________________                  SANSANOWICZ LAW GROUP, P.C.
                                               M LAW ATTORNEYS, APC


                                               ________________________________________
                                               Leonard H. Sansanowicz, Esq.
                                               Narak Mirzaie, Esq.
                                               Attorneys for Plaintiffs Craig and Kathy Garriott


 Dated: October 9, 2023                        OGLETREE DEAKINS



                                               ________________________________________
                                               Betsy Johnson, Esq.
                                               Catherine L. Hazany, Esq.
                                               Tara Mohseni, Esq.
                                               Attorneys for Defendants The Boeing Company,
                                               Millennium Space Systems, Inc., Jennifer Burina,
                                               Nina Matera, and Calinda Starr
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                     1                           CERTIFICATE OF SERVICE
                                           Craig M Garriott v. The Boeing Company, et al.
                     2                              Case No. 2:24-CV-04735
                     3        I am and was at all times herein mentioned over the age of 18 years and not a
                       party to the action in which this service is made. At all times herein mentioned I
                     4 have been employed in the County of Los Angeles in the office of a member of the
                       bar of this court at whose direction the service was made. My business address is
                     5 19191 S. Vermont Avenue, Suite 950, Torrance, CA 90502.

                     6        On June 5, 2024, I served the following document(s):
                     7  DECLARATION OF CATHERINE L. HAZANY IN SUPPORT OF NOTICE
                        OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT
                     8                                        COURT
                       by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
                     9 stated on the attached service list.

                   10    ☐    BY MAIL: I placed the envelope for collection and mailing, following our
                              ordinary business practices. I am readily familiar with the practice of Ogletree,
                   11         Deakins, Nash, Smoak & Stewart, P.C.’s practice for collecting and processing
                              correspondence for mailing. On the same day that correspondence is placed for
                   12         collection and mailing, it is deposited in the ordinary course of business with
                              the United States Postal Service, in a sealed envelope with postage fully prepaid.
                   13
                         ☐    BY CM/ECF: With the Clerk of the United States District Court of California,
                   14         using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
                              notification of the foregoing filing to the parties and counsel of record who are
                   15         registered with the Court’s CM/ECF System.
                   16    ☒    BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order
                              or an agreement of the parties to accept service by e-mail or electronic
                   17         transmission, I caused the documents to be sent to the person(s) at the e-mail
                              addresses listed on the attached service list. I did not receive, within a reasonable
                   18         time after the transmission, any electronic message or other indication that the
                              transmission was unsuccessful.
                   19
                         ☒    (Federal) I declare that I am employed in the office of a member of the State
                   20                   Bar of Court at whose direction the service was made. I declare
                                        under penalty of perjury under the laws of the United States of
                   21                   America that the above is true and correct.
                   22         Executed on June 5, 2024, at Torrance, California.
                   23

                   24                                                  Maria Peltekova
                   25
                   26
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                   28
O GLETREE , D EAKINS ,
  N ASH , S MOAK &
   S TEWART , P.C.                                                  100
                                                        CERTIFICATE OF SERVICE
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                     1                              SERVICE LIST
                     2

                     3   Leonard H. Sansanowicz, Esq.      Attorneys for Plaintiff
                         SANSANOWICZ LAW GROUP, P.C.       CRAIG M GARRIOTT
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                         Woodland Hills, CA 91364
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                         Fax: (626) 626-4420
                   10    Email:     nm@mlawattorneys.com
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O GLETREE , D EAKINS ,
  N ASH , S MOAK &
   S TEWART , P.C.                                         101
                                                 CERTIFICATE OF SERVICE
